                  Case: 3:15-cv-00580-wmc Document #: 3 Filed: 09/21/15 Page 1 of 91

                                                CARLO ESQUEDA
                                      DANE COUNTY CLERK OF CIRCUIT COU RT/
                                              REGISTER IN PROBATE
                                                   Dane County Courthouse, Room 1000
                                         215 South Hamilton Street, Mad ison, Wiscons in 53703-3285
                                       PH(608)266-4311 • FAx.(608)267-8859 • TIY:CallWI Re lay711
                                                     Website: countyotdane.com/court                     JILL L. ANDERSON
  KERRY K. WIDISH
Chief Deputy Clerk of Court                                                                                 Court Manage r

                                                                                                           HOLLY J. KUHL
                                                                                                            Court Manage r

                                                                                                         LAURA NACHAZEL
                                                                                                           Courr Manager

                                                                                                        WAYNE E PFISTER, JR.
                                                        CERTIFICATE OF TRANSMITTAL                         Court Manager/
                                                                                                       Deputy Reg ister in Probate



             I, Carlo Esqueda, Clerk of the Circuit Court in and for the County of Dane and State
             aforesaid, do hereby certify that the papers hereunto annexed are all the original papers
             on file in my office in the action herein.




             Case No. 15CV2036

             John J Miller, Plaintiff

                        vs.

             Dr Charles Larson, et al, Defendants


             And that the same are herewith transmitted to the Clerk of the Circuit Court for the US
             District Court, Western District, in the said state of Wisconsin.

                                                                     IN TESTIMONY WHEREOF,

                                                                     I have hereunto set my hand and affixed the
                                                                     seal of said Court at City of Madison, WI.

                                                                     September 18, 2015

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                                                                     By:


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                                L•I    v•- .J
                   Case: 3:15-cv-00580-wmc Document #: 3 Filed: 09/21/15 Page 2 of 91
..   •   I




             STATE OF WISCONSIN              CIRCUIT COURT
                                                BRANCH 9
                                                                                       DANE COUNTY
                                                                                                                   r
                                                                                                 FILED
             JOHN J. MILLER,
                                                                                              SEP 1 4 2015
                               Plaintiff,
                                                                                       DANE COUNTY CIRCUIT COURT
                   V.                                         Case No. 15-CV-2036

             DR. CHARLES LARSON, et al.,

                               Defendants.


               NOTICE OF FILING OF NOTICE OF REMOVAL TO FEDERAL COURT


             TO > The Honorable Richard G. Niess            John J. Miller, #147363
                  Dane County Circuit Court Judge, Br. 9    Fox Lake Correctional Institution
                  Dane County Courthouse                    Post Office Box 200
                  215 South Hamilton Street, Rm. 5109       Fox Lake, WI 53933-0200
                  Madison, WI 53703-3289

                   PLEASE TAKE NOTICE that on September 14, 2015, Defendants Wisconsin

             Department of Corrections ("DOC"), Health Service Unit of Fox Lake Correctional

             Institution ("FLCI''), Security Department of FLCI, Charles Larson, Angela Kast,

             Jodi Mulder, Melvin Pulver, Susan McMurray, and Wendy Polenska, by their

             attorneys, Attorney General Brad D. Schimel and Assistant Attorney General

             Rachel L. Bachhuber, filed a Notice of Removal of this case to the United States

             District Court for the Western District of Wisconsin. A copy of the notice is

             attached.



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                Case: 3:15-cv-00580-wmc Document #: 3 Filed: 09/21/15 Page 3 of 91
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I               Dated this 14th day of September, 2015.
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I                                                BRADD. SCHIMEL
                                               · Attorney General
f

                                               nz:J2QL~
                                               RACHELL. BACHHUBER
                                               Assistant Attorney General
                                               State Bar #1052533

                                               Attorneys for Defendants

          Wisconsin Department of Justice
          Post Office Box 7857
          Madison, Wisconsin 53707-7857
          (608) 266-0188
          (608) 267-8906 (fax)
          bachhuberrl@doj. state. wi. us




                                                 -2-
DANE COUNTY-13             Case: 3:15-cv-00580-wmc Document
                                                    Civil Court #: 3 Filed: 09/21/15 Page 4 of 91
                                                                Record                                                                              09-18-2015
CIRCUIT C6URT                                                                   Civil                                                                 08:22 am
Caption                                                                           Responsible C.O.                            Case Number
John J Miller 147363 vs. Charles Larson et al                                     Richard G Niess                             2015CV002036

WCIS Code: 30103 - Other-Medical Malpractice


Filing Date/C.O.               Disposition Date/C.O.                 Disposition                                                             Next Action
08-03-2015                     09-14-2015                            Change of venue, remove to federal court
Richard G Niess                Richard G Niess
Party Type            Name                        Address                                   City                 St    Zip          Attorney           Status
Plaintiff             John J Miller            W10237 Lake Emily Rd, PO Box                 Fox Lake             WI    53933                           AC
                      PKA John J Miller 147363 200
Defendant             Charles Larson              PO Box 7925                               Madison              WI    53707-7925                      AC
Defendant             Susan McMurray              3099 E Washington Ave, PO Box             Madison              WI    53707-7925                      AC
                                                  7925
Defendant             Angela Kast                 3099 E Washington Ave, PO Box             Madison              WI    53707-7925                      AC
                                                  7925
Defendant             Wendy Polensky              3099 E Washington Ave, PO Box             Madison              WI    53707-7925                      AC
                                                  7925
Defendant            Jodi Mulder                  3099 E Washington Ave, PO Box             Madison              WI    53707                           AC
                                                  7925
Defendant             Mel Pulver                  3099 E Washington Ave, PO Box             Madison              WI    53707-7925                      AC
                                                  7925
Defendant             Health Service Unit of Fox PO Box 7925                                Madison              WI    53707-7925                      AC
                      Lake Correctional
                      Institution
Defendant             Security Department of      PO Box 7925                               Madison              WI    53707-7925                      AC
                      Fox Lake Correctional
                      Institution
Defendant             Department of               PO Box 7925                               Madison              WI    53707-7925                      AC
                      Corrections
                                                                                                                                    c.o.
                                                                                                                                    Court Reporter
                                                                                                                                    Tape/Counter
Date                     Court Record Entries                                                                          Amount       Location
08-03-2015               Summons and complaint
08-03-2015               Order on Prisoner Pet for Waiver Prepay Fees/Costs
                             granted. Case transferred from 151P27
08-03-2015               Certified copy of prisoner's trust fund account
08-03-2015               Certification of 3 or more dismissals 801 .02(7)(d)
08-03-2015               Authorization to withhold money from accounts
08-03-2015               Prisoner Pet Waiver Prepay Fees, Aff. of lndigency
08-04-2015               Notice to DOC of actual filing fees and costs
                             for Filing fee of $265.50 and postage of $6.00. Assessment added.
09-14-2015               Notice
                             of filing Notice of Removal to Federal Court
09-14-2015               Change of venue, remove to federal court                                                                    Richard G Niess
09-17-2015               Certificate of mailing
                             of parties on service
09-17-2015               Certificate of non-service
                              on Susan McMurray
09-17-2015               Certificate of service
                              on Sarah Feltes for Dr Charles Larson
09-17-2015               Certificate of service
                              on Sarah Feltes for Angela Kast


CV-400(CCAP), 11 /00 Civil Court Record
                                          This form shall not be modified. It may be supplemented with additional material.                            Page 1 of 2
DANE COUNTY-13             Case: 3:15-cv-00580-wmc Document
                                                    Civil Court #: 3 Filed: 09/21/15 Page 5 of 91
                                                                Record                                                                           09-18-2015
CIRCUIT CDURT                                                                   Civil                                                              08:22 am
Caption                                                                           Responsible C.O.                            Case Number
John J Miller 147363 vs. Charles Larson et al                                     Richard G Niess                             2015CV002036

WCIS Code: 30103 - Other-Medical Malpractice


                                                                                                                                    c.o.
                                                                                                                                    Court Reporter
                                                                                                                                    Tape/Counter
Date                     Court Record Entries                                                                          Amount       Location
09-17-2015               Certificate of service
                              on Sarah Feltes for Wendy Polensky
09-17-2015               Certificate of service
                              on Sarah Feltes for Jodi Mulder
09-17-2015 .             Certificate of service
                              on Sarah Feltes for Mel Pulver
09-17-2015               Certificate of service
                              on Sarah Feltes for Health Services Unit of Fox Lake Correctional
                              Institution
09-17-2015               Certificate of service
                              on Sarah Feltes for Security Dept at Fox Lake Correctional
                              Institution
09-18-2015               Certificate of transmittal
                              to US District Court, Western District. Cert Mail #7013 1710 0002
                              3026 9741




CV-400(CCAP), 11 /00 Civil Court Record
                                          This form shall not be modified. It may be supplemented with additional material.                          Page 2 of 2
        Case: 3:15-cv-00580-wmc Document #: 3 Filed: 09/21/15 Page 6 of 91




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                                                                                 · DANE COUNTY CIRCUIT COURT




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                  Case: 3:15-cv-00580-wmc Document #: 3 Filed: 09/21/15 Page 7 of 91




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                               Case: 3:15-cv-00580-wmc Document #: 3 Filed: 09/21/15 Page 8 of 91

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                                                WISCONSIN PRISON SYSTEM                                                   MAILEDFROM T:;::,                                                    ·l
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       Case: 3:15-cv-00580-wmc Document #: 3 Filed: 09/21/15 Page 9 of 91




                                 JUDGE RICHARD G. NIESS
                              Dane County Circuit Court, Branch 9
                                 215 S Hamilton St., Rm. 5109
                                   Madison, WI 53703-3290
                                      Telephone: (608) 266-4009
                                      Facsimile: (608) 267-4151

Ann Ford, Cornt Clerk                                                 Tara Monthie, Court Reporter
Ashley Ballweg, Judicial Assistant

                                           August 4, 2015

John J Miller # 147363
Fox Lake Corr. Inst.
PO Box 200
Fox Lake WI 53933

RE:             John J Miller vs. Charles Larson et al
Case No.        15CV2036

Dear Mr. Miller:

       The authenticated copies of the pleadings filed in the above action are being returned to
you so that you may arrange for service of these papers

        It is your responsibility to obtain service of your papers on the appropriate party or
parties. You also must send an additional authenticated copy for the sheriffs department. If the
parties are located in different counties, you must send the appropriate number of authenticated
copies to each county where the parties are located. You also must send additional authenticated
copies for each sheriffs department.

        After you obtain service of these papers, fi le proof of service with the court. After this
proof is received, the court will send you further information.

         Please be sure to notify this office of your new address if you are transferred to another
institution or released from custody. This will make it easier for the clerk's office and the court
to send mail to you. Thank you.


                                       S~nce,/

                                       Ju~v'~$sistant
Enclosures    /}Jr;iuJ
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                  Case: 3:15-cv-00580-wmc Document #: 3 Filed: 09/21/15 Page 10 of 91


                                                                                                                             For Official Use
 STATE OF WISCONSIN, CIRCUIT COURT, 9                                                                       COUNTY
                                                                                              D Amended
                                                                                                                                           FILED
                                                                                    Notice to Department of
 John I Mjl!er
                                                                                     Corrections of Actual                              AUG       4 2015
                              -vs-
                                                                                     Filing Fees and Costs
                                                                                                                                  DANE COUNTY CIRCUIT COURT
Charles Larson et al                                                          Case No. I 5CV2036


To:      Custodian


The court has granted a petition to proceed without prepayment of total filing fees and costs in this matter.

The actual filing fees and costs are as follows :


        Filing Fee                                                                  265 .50

                                                                            +
       Service of Process Fees
                                                                            +          6.00
       Postage
                                                                            +
       Total Filing Fees/Postage Fees and Service
       Fees:
                                                                            =       271 .50

       Amount prepaid by prisoner or from prisoner
       trust fund account:                                                  -          0.00


                   Amount Remaining to be Paid:                             =       271.50


Please:
           •     Remit the remaining amount to be paid to this court to the address below.
           •     Make reference to this case number on all checks.

       Court Address:
        Clerk of Circuit Court
        Room I 000, Dane County Courthouse
        2 15 S Hamilton St
        Madison WI 53703-3285




Distribution :                                                                      Carlo Es ueda
1. Clerk of Court (Original)                                                                              Name Printed or Typed
2. Prisoner
                                                                                    August 4. 2015
3. Department of Corrections
                                                                                                                  Date
4. Department of Justice , Civil Litigation Unit,
      P.O. Box 7857 , Madison, WI 53707-7857



CV-443, 04/08 Notice to Department of Corrections of Actual Filing Fees and Costs                                          §814.29, Wisconsin Statutes
                                 This form shall not be modified. It may be supplemented with additional material.
                          Case: 3:15-cv-00580-wmc Document #: 3 Filed: 09/21/15 Page 11 of 91



        _s_T_A_T_E_o_F_w_1s_c_o_N_s_1_N~,c_1_R_c_u_rr_c_o_u_R_T~,~===o=A=N=E======~c_o_u_N~rr~~~Dr
                                                                                             Order on Prisoner's Petition
                                                                                              for Waiver.of Prepayment              AUG       3 2015
                                       -vs-                                                         of Fees/Costs

                 CLv,_r\es ~rso"'
          ~~~~~~~~~~~~~~~~~~~
                                                        <it o. \                            Case NcVt   S IP 11-
                                                                   COURT FINDINGS AND ORDER \
         Document Review Determination (Check box 1 or 2):
           1PJ 1. The prisoner has submitted all required documentation.
           D 2. The petition is DENIED because the prisoner failed to provide the following documentation:
                D a. Exhaustion of all available administrative remedies (required if the underlying proposed action relates
                            to prison or jail conditions):
                              D documents the prisoner provided to the administrative agency as part of the administrative
                                  proceeding;
                              D documents from the administrative agency provided to the prisoner related to the administrative
                                  proceeding; and/or,
                              D documents included as part of any administrative appeal.
                   D b.     Original Wisconsin Department of Justice certification (form DJ-LS-22) concerning prior dismissals
                            dated within thirty days of the date of the petition. Document to have raised seal; a copy is insufficient.
                   D c.     Authorization to withhold money from prisoner trust fund account (on DOC form 1930 provided by the
                            Department of Corrections).
                   D d.     A certified copy of the prisoner trust fund account for the six months preceding the date of the petition.
                   D e.     A properly completed affidavit of indigency (form CV-438).
                   D f.     Sufficient copies of the pleadings.
                   [Jg.     Other:~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~-

                   If box #1 is checked, proceed to the exhaustion of administrative remedies determination.
                   If box #2 is checked, do not consider the remaining sections.

         Exhaustion of Administrative Remedies Determination (Check box 3 or 4):
          Ill 3. The prisoner has either exhausted all available administrative remedies or is not required to do so because
                  the underlying proposed action does not relate to jail or prison conditions.

          D 4. The prisoner has not exhausted all available administrative remedies. The petition to proceed without
                  prepayment of filing fees and costs is DENIED.

                  If box #3 is checked, proceed to the three dismissals determination.
                  If box #4 is checked, do not consider the remaining sections.

        Three Dismissals Determination (Check box 5 or 6):
          19 5. The prisoner has not accumulated three or more dismissals pursuant to §801.02(7)(d), Wisconsin Statutes, or
                  is not subject to the 'Three Dismissals' rule because s/he has sufficient funds within his/her trust fund and/or
                  release account to pay the filing fee in full.

          D 6. The prisoner has, on three or more prior occasions, while he or she was incarcerated, imprisoned, confined or
                  detained in a jail or prison, brought an appeal, writ of error, action or special proceeding, including a petition
                  for a common law writ or certiorari, that was dismissed by a state or federal court for the reasons listed in
                  §802.05(3)(b) 1 to 4. The petition to proceed without prepayment of filing fees and costs is DENIED.

                  If box #5 is checked, proceed to the economic status determination.
                  If box #6 is checked, do not consider the remaining section.

        CV-439. 12101 Order on Prisoner's Petition for Waiver of Prepayment of Fees/Costs                                   §814.29, Wisconsin Statutes
                                        This form shall not be modified. It may be supplemented with additional material.
                                                                                   Page 1of2

080-762 (2102)
                            Case: 3:15-cv-00580-wmc Document #: 3 Filed: 09/21/15 Page 12 of 91
                                                                                                                             \~C.\/~
         Order on Prisoner's Petition For Waiver of Fees/Costs                                 Page 2 of 2        Case No_: 1"6 It' 2:1


         Economic Status Determination (Check box 7, 8, or 9):

          ft 7. The petition is GRANTED because:
                           • The prisoner is indigent;
                           • The prisoner authorized in writing the agency having custody of the prisoner's prison trust fund and/or
                             release account to forward payments from the prisoner's account to the clerk of court each time the
                             amount in the account exceeds $10 until the fees or costs are paid in full.

                    The agency having custody of the prisoner's prison trust fund and/or release account shall freeze the
                    prisoner's trust fund account while such payments are being made and shall forward the payments to the clerk
                    of court as provided by law.

                    The action may be commenced without prepayment of filing fees . The sheriff shall serve all necessary
                    documents without prepayment of service fees . If the prisoner receives a money judgment or monetary
                    settlement, the amount shall be used to pay the filing and service fees waived by this order which have not
                    been reimbursed pursuant to the priority schedule in §806.025(2), Wisconsin Statutes.

                    The clerk of court shall notify the custodian at the prisoner's facility of the total filing fees, costs and service
                    fees as soon as ascertainable.

           D 8. The petition is CONDITIONALLY GRANTED. The court finds the prisoner to be partially indigent because the
                    prisoner has assets in his/her trust fund account to partially pay the filing and service fees .

                    Upon payment by the prisoner of$                           (the balance in his/her trust fund and/or release
                    account as shown by the certified copy of his/her trust account statement) or the required filing fee, whichever
                    is less, this action may be filed and all necessary documents may be served by the sheriff. If payment is not
                    made within 30 days of this Order, the petition is DENIED.

                        The clerk of court shall notify the custodian at the prisoner's facility of the total filing fees, costs and service
                        fees as soon as ascertainable.

                        The agency having custody of the prisoner's prison trust fund and/or release account shall freeze the
                        prisoner's trust fund and/or release account until the deposits in that account are sufficient to pay the balance
                        owed and shall forward the balance to the clerk of court as provided by law.

            D 9. The petition is DENIED because the court finds the prisoner not indigent. The filing and service fees must be
                        paid in full before commencement of this matter.




                                                                                                             {   ( Name Printed or Typed
                                                                                                       $ "> 1<             Date
           Distribution:
           1. Clerk of Court (Original)
           2.    Petitioner
           3.    Department of Justice, Civil Litigation Unit
                 P.O . Box 7857, Madison, WI 53707-7857
                 (with copy of affidavit of indigency and attachments)
           4. Department of Corrections Facility at which petitioner is
                 incarecrated
                 (Dodge Correctional Institution, if out of state)

           CV-439. 05/01 Order on Prisoner's Petition For Waiver of Fees/Costs                                                      §814.29. Wisconsin Statutes.
                                           This form s hall not be modified . It may be supplemented with additional material.
                                                                                 Page 2 of 2
080-762 (5/01) PAGE 2
                      Case: 3:15-cv-00580-wmc Document #: 3 Filed: 09/21/15 Page 13 of 91

                                                                                                                               . For Official Use
  ST ATE .OF WISCONSIN, CIRCUIT COURT-,                                    DANE                                 COUNTY
                                                                                                                                           Fr-LED            .
              Please Print or Type
                                                                                              Prisoner's Petition for
                                                                                             Waiver of Prepayment of ·
                                                                                                   Fees/Costs -
                                                                                                                                        AUG - 3 2015
                                                                                                                                 DANE COUNTY CIRCUIT COURT
                                                                                                                                                             t
                                   -vs-                                                       Affidavit of lndigency

      D. R,"th~tf l~s: L~rs~ '\ ·IE r A-U D~{£a.se No. ~~-                                           5.                             MAY a7 2015
              · ·               .      .· .            .                                                     . - , SCV2036
             (The prisoner must provide the following to the Clerk of Court at the time of filing:   .·
                • The original and one copy of this affidavit an<;f attachments.
                • Sufficient copies of the pleadings for potential service on all named defendants.)

  Under oath I state that:
  1.   I am unable to pay the costs of this action, special proceeding or appeal or to give security for those costs , and
        request waiver of prepayment of those costs because of poverty.                  ·
  2. · I have not had three or more appeals, writs of error, actions or spec1al proceedin_gs dismissed by a state or
       federal court for any· of the reasons ljsted in §802.05(3.)(b)1-4, Wisconsin Statutes.                    .
          ·    Attache_d is the original Wisconsin Department of Justice certification (form DJ-LS-22 con_taining the
               raised seal) dated within 30. days of the date of this petition concerning the number of appeals, writs of
             . error; actions or special proceedings dismissed by a state or federal court.
  3. I have attache.d.and incorporated into this affidavit: ·
             The original pleading fn _this matter.
           • [If this proceeding is related to prison or jail conditions]: Written .documentation of exhaustion .of all
             available administrative remedies, including copies of all written materials:
                    • I provided to the administrative agency as part of the administrative proceeding; .
                    ' . the administrative agency provided to me related to the administrative proceeding; and, .
                    • included as part of any administrative appeal.      .                                   .
             A certified copy of my prison trust fund account for the six months preceding the date ofthis petition.
           • My authorization to the agency having custo.dy of my prison trust fund account (on DOC form 19.30
             provided by the Wisconsin Department of Corrections), to forvvard paym ents from my. account to the clerk
             of court each time the amount in the acco.unt exceeds $10, until the costs and fees are paid in full.         ·

 4.         D have ~have not committed an offense .on or after September 1°, 1998.
           (An' offense is defined in §165.83(1)(c), Wisconsin Statutes, as an act which is a felony, misdemeanor, or
           violation of a city, county, village, or town ordinan_
                                                                ce .
                         . f"D'                                                 A/,4
 5.         Dam           l..lr!!!o.l am not   employed. Name of employer: --'-;//
                                                                                 _____________________ _
 6.    I earn $             · '"I/ tJ o          gross D weekly.     !&! every two weeks. D twice monthly. D monthly.
 7.     I have received or been entitled to receive money from the following sources within the past 12 months (!ist total
        amount):                 .
           D pens.ion, annuities or life insurance payments: ............ $ _ __._Al-"'--':l''A   _ _- _ __
         . D .disability or worker's compensation payments: ............ $ _ _Jl,.           ·_.Y,"-._'A....__ _ __
           D gifts, loans or inheritances: ...................................... $ _ _N~A-       ~-----
           D rent paym ents, interest or d·ividends: ........................... $ _..,.N_._"'ll"'' - - - - - - -
           8~~hs~~ess,            profession or self    e~:.'.~~-~-~-~-~.:::::::::::::::::::: ~ _g_,....,:f_,_A~-----
8.     I have the following cash assets:                                                                    i.$-olft.I
          D savings accounts: ..................$ pr ,·s a o 5 a t-1 .·11ss 4u:.ovil'J,-1                 ,;2tJ °o,tJ6   ycu.. C!.a-t. f--q)<..e. 1 ·+ A\\
          D checking accounts: ................ $_ __.11_.c....._..A~----
          O cash:        .............................. $   Al &
          D money owed me: ....................$             NS
          D . any other cash assets: ........... $        ;
                                                            lllA
CV-438, 06/03 Prisoner's Petition for W aiver of Prepayment of Fees/Costs · Affidavit of lndigency                            §814.29, Wisconsin Statutes
                                   · This forni s h all not be modified. It may be s upplemented with additional m aterial.
                                               ·                           .   Page 1 of 2
-   - - -- ·--··---- -- - - - --- - - - -
                             Case: 3:15-cv-00580-wmc Document #: 3 Filed: 09/21/15 Page 14 of 91


         Prisoner's Petition for Waiver of Prepayment of Fees/Costs - Affidavit of lndigency                      Page 2 of 2   Case No. _ _ _ _ __


         9.     I have the following other assets (list value) :
                   D real estate:                      ........ :... ...................................... ..$_....,4/._'""'A'-------
                   D stocks, bonds, securities and financial instruments: ................. $_ _,....A._               l ~A~-..,..-.,.....---
                   D automobiles :                     ..................... :..... ~ ........................ $ __'+-tf;-=-
                                                                                                                         · ,_~.,___ _ _ __
                   DD computers, _audio-vibs.ual equipment, other personal property: ... $ __
                      jewelry, antiques, o 1ects. of art or other valuable property: ..... $ _ __._!...':!....:.~r~
                                                                                                                     ;.,...;--:-A------
                                                                                                                              '-----

         10. I have not transferred any funds or other assets in the pa~t 12 months except as follows (describe any transfers):
                                                     /{d/2?



         11 . I have not assigned my rights to any funds or other .assets since first incarcerated except as follows (describe
              any assignments):




        12. I have the followin                          ations:
                                                              Amount Actually Paid                 Amount Actually Paid ·
                      Obligation
                                                                 ..Per. Month                       in Last Six Months
                       D Child Support                        $                                   $

                      D Restitution                           $                                   $
                                                                           .A
                      [Z(°Fines/Costs                         $                           uz_· $          ;t/cl ;V'e:
                      D Other:                                $                                   $


        13. My spouse D is c;(is not employed. Name of employer: -'--"-1.<---'----.,...,,.-----------=---
                                                                               ,,4
                              · ~Al~A~-- gross D weekly. Devery two weeks 0 twice monthly 0 monthly.
        14. My spouse earns$ __

        15. My spouse re~eives monthly income totaling the amount of$ ;U A       from:
              D Pension       0 Social Security        .    0 Unemployment compensation
              0 Disability    D Student loans/grants .      0 Other: _______·__·_ _ _ _ _ _ _ _ __
        16. I have the following miscellaneous expenses: _ _t..
                                                            __  i _v_~_·IL. . ,.....'3---'e-~k"""P.,,,_4i.=·=-rJ_e-=--~
                                                                                                                  e !_·~....z-'-d__,9.;..~
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                ;v?e d: ~ d              eo , ..,c:;..,tJ
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                                                                     Pu s .f.ct. z.e-       c,_, pvt..s




       CV-438, 06/03 Prisoner's Petition for Waiver of Prepayment of Fees/Costs -Affidavit of lndigency                                §814.29, W isconsin Statutes
                                      . This form shall not be modified. It may be supplemented with additional material.
                                                                                    Page 2 of 2
              Case: 3:15-cv-00580-wmc Document #: 3 Filed: 09/21/15 Page 15 of 91


                STATE OF WISCONSIN
                DEPARTMENT OF JUSTICE
                                                                FILED           r~t----1SCV2036
                                                                                      DJ-LS-22, rev0112015

                                                               AUG- 3 2015
BRAD D. SCHIMEL                                                                    17 W. Main Street
ATTORNEY GENERAL                                         DANE COUNTY CIRCUIT COURT P.O. Box 7857
                                                                                   Madison, WI 53707-7857
Andrew C. Cook                                                                     www.doj.state.wi.us
Deputy Attorney General                               RECEIVED                     Betty Kruse
                                                                                   Paralegal
                                                         JUL    1 2015             kruseel@doj.state. wi. us
                                                                                   608/267-2780
                                                    DANE COUNTY CIRCUIT COURT      FAX 608/267-8906

             Instruction To Offender: You must send original Certification to the
                                           Court.

                                   CERTIFICATION
                          AS TO THREE OR MORE DISMISSALS
                            UNDER WIS. STAT.§ 801.02(7)(d)

       OFFENDER NAME:                   John J. Miller

       DOC OFFENDER NUMBER: 14 7363

       THE UNDERSIGNED CERTIFIES THAT:

       _X_     The Wisconsin Department of Justice has no records showing that this
               offender has three or more dismissals within the meaning of Wis. Stat. §
               801.02(7)(d).

               The Wisconsin Department of Justice has records it believes show that this
               offender has three or more dismissals within the meaning of Wis. Stat. §
               801.02(7)(d). These records are public records within the meaning of Wis.
               Stat. §§ 908.03(8), 909.015(7), and 909.02(4), in that they are on file in the
               offices of the Wisconsin Department of Justice, reflect the activities of that
               Department, and set forth matters observed by that. Department pursuant
               to duty imposed on it by law. True copies of these records are attached.
               hereto and their case name, number, and venue are as follows:

       Attached hereto is a true copy of the offender's request for this certification,
       bearing the Department of Justice date stamp.

       Witness under my hand and the official seal of the Wisconsin Department of
       Justice, Office of the Attorney General, this 19th day of June, 2015.
                   Case: 3:15-cv-00580-wmc Document #: 3 Filed: 09/21/15 Page 16 of 91
. '06/3.0/2015 07:29                    IISCONSIN DEPARTMENT OF CORRECTION.                        r 3·
   DOCFBA                                FOX LAKE CORRECTIONAL INSTITUTION  15CV2036 PAGE 1 CAT
                                                                                            OF
                                                                                               AAS

                         T R US T    A C C 0 U N T   AC T I V I T Y     S T A T E ME NT FILED
                                         FROM 12/31/2014 TO 06/30/2015
                          certified six month statement of Mr. Miller's trust account     AUG - 3 2015
                                  Questions call Cami vande Berg 920-928-6941 ~ \ lJ ~~NECOU
                                                                                 V~ - ~- "1-1        NTY CIRCUIT COURT
        DOC#:   00147363                                               ~ START BALANCE:$                    214.09
        NAME:   MILLER, JOHN                                                      END BALANCE:$             227.62
         DOB:   10/26/1962                                            AVERAGE MONTHLY BALANCE:$             229.99
    LOCATION:   FLCI-10A-1009B                                       AVERAGE MONTHLY DEPOSITS:$              40.00
   ACCOUNT ACTIVITY                                                  NUMBER OF DAYS IN PERIOD:                 182
                                                                         RECEIPT/
   DATE       INST      TRANSACTION DESCRIPTION                          INFO NUMBER            AMOUNT DEPOSIT
   -----                                                                                    ------
   01/02/2015 FLCI      JAN /SJS3 PRM/FUL 20 @0.28      12/14/14-                                5.60 YES
                        12/27 /14
   01/02/2015    FLCI   DEDUCTION - REGULAR ACCOUNT                                             (0. 56)
   01/02/2015    FLCI   ALLOCATION - RELEASE ACCOUNT                                             0. 56
   01/02/2015    FLCI   JAN /SJS3 REG/FUL 48 @0.26      12/14/14-                               12.48 YES
                        12/27 /14
   01/02/2015    FLCI   DEDUCTION - REGULAR ACCOUNT                                              Cl.25)
   01/02/2015    FLCI   ALLOCATION - RELEASE ACCOUNT                                              1. 25
   01/02/2015    FLCI   SPEEDY                                                                   C4. 67)
   01/05/2015    FLCI   COMMISSARY REGULAR SALE #8162989                                        C12.18)
   01/05/2015    FLCI   COPIES                                                                   C8.55)
   01/08/2015    FLCI   COPIES                                                                  co .15)
   01/14/2015    FLCI   JAN /SJS3 PRM/FUL 20 @0.28      12/28/14-                                 5.60 YES
                        01/10/15
   01/14/2015    FLCI   DEDUCTION - REGULAR ACCOUNT                                             C0.56)
   01/14/2015    FLCI   ALLOCATION - RELEASE ACCOUNT                                             0. 56
   01/14/2015    FLCI   JAN /SJS3 REG/FUL 48 @0.26      12/28/14-                               12.48 YES
                        01/10/15
   01/14/2015    FLCI   DEDUCTION - REGULAR ACCOUNT                                              Cl.25)
   01/14/2015    FLCI   ALLOCATION - RELEASE ACCOUNT                                              1. 25
   01/20/2015    FLCI   COMMISSARY REGULAR SALE #8179777                                        C13. 05)
   01/21/2015    FLCI   COPIES                                                                   Cl.50)
   01/28/2015    FLCI   COPIES                                                                   Cl. 35)
   01/29/2015    FLCI   JAN /SJS3 PRM/FUL 20 @0.28      01/11/15-                                 5.60 YES
                        01/24/15
   01/29/2015    FLCI   DEDUCTION - REGULAR ACCOUNT                                             co. 56)
   01/29/2015    FLCI   ALLOCATION - RELEASE ACCOUNT                                             0. 56
   01/29/2015    FLCI   JAN /SJS3 REG/FUL 54 @0.26      01/11/15-                               14.04       YES
                        01/24/15
   01/29/2015    FLCI   DEDUCTION - REGULAR ACCOUNT                                              Cl. 40)
   01/29/2015    FLCI   ALLOCATION - RELEASE ACCOUNT                                             1.40
   02/02/2015    FLCI   COMMISSARY REGULAR SALE #8195227                                        (8. 97)
   02/06/2015    FLCI    US DISTRICT COURT OF WI- EASTERN DISTRICT                              (5.00)
   02/09/2015    FLCI    POSTAGE                                                                (2. 03)
   02/11/2015    FLCI   OVERDRAWN                                               02112015         1.66
   02/11/2015    FLCI   COPIES (OD)                                                             C9.30)
   02/12/2015    FLCI    JAN /SJS3 PRM/FUL 20 @0.28     01/25/15-                                5. 60 YES
                        02/07/15
   02/12/2015    FLCI   WITHHOLDING - OVERDRAFT                                 02112015        Cl. 66)
   02/12/2015    FLCI   DEDUCTION - REGULAR ACCOUNT                                             (0.39)
   02/12/2015    FLCI   ALLOCATION - RELEASE ACCOUNT                                             0.39
   02/12/2015    FLCI    JAN /SJS3 REG/FUL 60 @0.26     01/25/15-                               15.60 YES
                        02/07/15
   02/12/2015    FLCI   DEDUCTION - REGULAR ACCOUNT                                               (1. 56)
   02/12/2015    FLCI   ALLOCATION - RELEASE ACCOUNT                                               1. 56
   02/20/2015    FLCI   COPIES                                                                    co .15)
   02/20/2015    FLCI   COPIES                                                                    C8.55)
   02/20/2015    FLCI   COPIES                                                                    (1. 80)
   02/25/2015    FLCI   MAIL ROOM RECEIPTS (AUTO)                             FLCI0153112        30.00 YES
   02/25/2015    FLCI    DEDUCTION - REGULAR ACCOUNT                                             (3 .00)
   02/25/2015    FLCI   ALLOCATION - RELEASE ACCOUNT                                              3.00
   02/26/2015    FLCI    JAN /SJS3 PRM/FUL 20 @0.28     02/08/15-                                 5. 60 YES
                         02/21/15
   02/26/2015    FLCI    DEDUCTION - REGULAR ACCOUNT                                              co. 56)
   02/26/2015    FLCI    ALLOCATION - RELEASE ACCOUNT                                            0.56
   02/26/2015    FLCI    JAN /SJS3 REG/FUL 60 @0.26     02/08/15-                               15.60       YES
                         02/21/15
                Case: 3:15-cv-00580-wmc Document #: 3 Filed: 09/21/15 Page 17 of 91
. 06/30/2015 07:29                    ISCONSIN DEPARTMENT OF CORRECTION:                      PAGE        2 OF    3
  DOCFBA                              FOX LAKE CORRECTIONAL INSTITUTION                                     CATAASR
                       T RUS T     A C C 0 UNT     ACT I VI T Y      S T A T E ME NT
                                        FROM 12/31/2014 TO 06/30/2015
                         certified six month statement of Mr. Miller's trust account
                                 Questions call Cami vande Berg 920-928 - 6941 ~

       DOC#: 00147363                                                        START BALANCE:$               214.09
       NAME: MILLER, JOHN                                                      END BALANCE:$               227. 62
        DOB: 10/26/1962                                            AVERAGE MONTHLY BALANCE:$               229. 99
   LOCATION: FLCI-10A-1009B                                       AVERAGE MONTHLY DEPOSITS:$                40.00
  ACCOUNT ACTIVITY                                                NUMBER OF DAYS IN PERIOD:                   182
                                                                      RECEIPT/
  DATE         INST   TRANSACTION DESCRIPTION                         INFO NUMBER             AMOUNT DEPOSIT
                                                                                         - - - - --
  02/26/2015   FLCI   DEDUCTION - REGULAR ACCOUNT                                             (1.56)
  02/26/2015   FLCI   ALLOCATION - RELEASE ACCOUNT                                             1. 56
  03/12/2015   FLCI   JAN /SJS3 PRM/FUL 20 @0.28     02/22/15 -                                5 . 60 YES
                      03/07 /15
  03/12/2015   FLCI   DEDUCTION - REGULAR ACCOUNT                                             (0.56)
  03/12/2015   FLCI   ALLOCATION - RELEASE ACCOUNT                                             0. 56
  03/12/2015   FLCI   JAN /SJS3 REG/FUL 60 @0.26     02/22/15-                                15 . 60 YES
                      03/07 /15
  03/12/2015   FLCI   DEDUCTION - REGULAR ACCOUNT                                              (1. 56)
  03/12/2015   FLCI   ALLOCATION - RELEASE ACCOUNT                                              1. 56
  03/16/2015   FLCI   COMMISSARY REGULAR SALE #8239518                                         (4.81)
  03/16/2015   FLCI   MAIL ROOM RECEIPTS (AUTO)                            FLCI0154005         30 . 00 YES
  03/16/2015   FLCI   DEDUCTION - REGULAR ACCOUNT                                              (3 .00)
  03/16/2015   FLCI   ALLOCATION - RELEASE ACCOUNT                                              3.00
  03/16/2015   FLCI   RACING ELECTRONICS LLC                                                  (60.00)
  03/19/2015   FLCI   SPEEDY                                                                   (4 . 90)
  03/25/2015   FLCI   POSTAGE                                                                  (6.70)
  03/26/2015   FLCI   JAN /SJS3 PRM/FUL 20 @0.28     03/08/15-                                  5. 60 YES
                      03/21/15
  03/26/2015   FLCI   DEDUCTION - REGULAR ACCOUNT                                              co. 56)
  03/26/2015   FLCI   ALLOCATION - RELEASE ACCOUNT                                             0. 56
  03/26/2015   FLCI   JAN /SJS3 REG/FUL 60 @0.26     03/08/15-                                15.60       YES
                      03/21/15
  03/26/2015   FLCI   DEDUCTION - REGULAR ACCOUNT                                              (1 . 56)
  03/26/2015   FLCI   ALLOCATION - RELEASE ACCOUNT                                              1. 56
  03/30/2015   FLCI   COMMISSARY REGULAR SALE #8253715                                        (34. 38)
  03/30/2015   FLCI   COMMISSARY REGULAR SALE #8253716                                         (0.69)
  04/01/2015   FLCI   COPIES                                                                   (0.30)
  04/01/2015   FLCI   COPIES                                                                   co. 60)
  04/08/2015   FLCI   POSTAGE                                                                  (0.90)
  04/09/2015   FLCI   JAN /SJS3 PRM/FUL 20 @0.28     03/22/15-                                  5.60 YES
                      04/04/15
  04/09/2015   FLCI   DEDUCTION - REGULAR ACCOUNT                                             co . 56)
  04/09/2015   FLCI   ALLOCATION - RELEASE ACCOUNT                                             0. 56
  04/09/2015   FLCI   JAN /SJS3 REG/FUL 60 @0.26     03/22/15-                                15.60       YES
                      04/04/15
  04/09/2015   FLCI   DEDUCTION - REGULAR ACCOUNT                                              (1.56)
  04/09/2015   FLCI   ALLOCATION - RELEASE ACCOUNT                                              1. 56
  04/13/2015   FLCI   COMMISSARY REGULAR SALE #8266396                                        (24.09)
  04/23/2015   FLCI   JAN /SJS3 PRM/FUL 5 @0.28      04/05/15 -                                 1.40 YES
                      04/18/15
  04/23/2015   FLCI   DEDUCTION - REGULAR ACCOUNT                                              (0.14)
  04/23/2015   FLCI   ALLOCATION - RELEASE ACCOUNT                                              0 . 14
  04/23/2015   FLCI   070 /VOLU VUN/FUL 80 @0.00     07/13/14-                                  0.00 YES
                      04/18/15
  05/05/2015   FLCI   POSTAGE                                                                  co. 21)
  05/07/2015   FLCI   070 /UNl REG/FUL 160 @0.05     11/02/14-                                  8.00      YES
                      05/02/15
  05/07/2015   FLCI   DEDUCTION - REGULAR ACCOUNT                                              (0.80)
  05/07/2015   FLCI   ALLOCATION - RELEASE ACCOUNT                                              0.80
  05/11/2015   FLCI   COMMISSARY REGULAR SALE #8291905                                         (5.44)
  05/21/2015   FLCI   070 /UNl REG/FUL 80 @0.05      05/03/15-                                  4.00 YES
                      05/16/15
  05/21/2015   FLCI   DEDUCTION - REGULAR ACCOUNT                                              (0.40)
  05/21/2015   FLCI   ALLOCATION - RELEASE ACCOUNT                                              0.40
  05/26/2015   FLCI   COMMISSARY REGULAR SALE #8305053                                         (3. 90)
                   Case: 3:15-cv-00580-wmc Document #: 3 Filed: 09/21/15 Page 18 of 91
• ' 06/30/2015 07:29                   IISCONSIN DEPARTMENT OF CORRECTION                    PAGE      3 OF    3
    DOCFBA                              FOX LAKE CORRECTIONAL INSTITUTION                                CATAASR

                        T R US T    ACC0 UNT           ACT I VI T Y     S T A T E ME NT
                                         FROM 12/31/2014 TO 06/30/ 2015
                          certified six month statement of Mr. Miller's trust acc9unt
                                  Questions call Cami vande Berg 920-928-6941 ~


        DOC#: 00147363                                                          START BALANCE:$         214 . 09
        NAME: MILLER, JOHN                                                        END BALANCE:$         227.62
         DOB: 10/26/1962                                              AVERAGE MONTHLY BALANCE:$         229. 99
    LOCATION: FLCI-10A-1009B                                         AVERAGE MONTHLY DEPOSITS:$          40.00
   ACCOUNT ACTIVITY                                                  NUMBER OF DAYS IN PERIOD :            182
                                                                         RECEIPT/
   DATE          INST   TRANSACTION DESCRIPTION                          INFO NUMBER          AMOUNT DEPOSIT
                                                                                        ------
   06/04/2015    FLCI   070 /UNl REG/FUL 72 @0.05       05/17/15-                              3.60 YES
                        05/30/15
   06/04/2015    FLCI   DEDUCTION - REGULAR ACCOUNT                                           (0.36)
   06/04/2015    FLCI   ALLOCATION - RELEASE ACCOUNT                                           0. 36
   06/18/2015    FLCI   070 /UNl REG/FUL 80 @0.05       05/31/15 -                             4 .00 YES
                        06/13/15
   06/18/2015    FLCI   DEDUCTION - REGULAR ACCOUNT                                           (0.40)
   06/18/2015    FLCI   ALLOCATION - RELEASE ACCOUNT                                           0.40
   06/25/2015    FLCI   COPIES                                                                (5.10)
               Case: 3:15-cv-00580-wmc Document #: 3 Filed: 09/21/15 Page 19 of 91


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                         AUTHORIZATION TO WITHHOLD MONEY FROM ACCOUNTS
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                                                                                            e_r____,, # . LL/ ·j-3 @~couNTY. c1Rcu11 couRT
                  1, _ _·_. .J--..l>~b /).__·- "c::::.._[....;;....,_ . ..;.....(V)_,_;..J/......
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                        (Print Plaintiff's/Petitioner's Name)                                                            (I.D. Number, e.g. DOC#)
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         · wish to coinrilence a lawsuit described.as follows: c.. h °"f I e. s la. r S 01\1 . 5 US qt> (YJ t.-
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         Name(s)ofdefendant(s)/respondent(s)                    ->   ~10     ~!Vh ' /""' •         (oKR.             L




         If the 'court permits me to commence this laWSUit, by my signature below I authorize the agen.cy
        . having custody of my priSon trust fund account to· forward payments ·from my account to the
          clerk of court each time the amount in the account exceeds $1 quntil the costs and fees are paid
          in~                                                                      .



                                                                                                                         tiff/petitioner)



                                                                                                    Date
                                                                                                            6/? <t /r2_01S-
\   .




        · CUSTODIAN:

        Give inmate a copy after he or sh~ signs it

        When suit is filed and served, enter court case number here: - - - - - - - -

        *A COPY OF nns FORM MUST ACCOMPANY CIRCUIT COURT FORM CV-438 OR
        CV-440, PRISONER'S AFFIDAVIT OF INDIGENCY
         Case: 3:15-cv-00580-wmc Document #:R.ZC~-I!:E,D


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                                                           Nrv-~s Page 20 of 91
                                                         09/21/15
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                  Case: 3:15-cv-00580-wmc Document #: 3 Filed: 09/21/15 Page 21 of 91


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             Case: 3:15-cv-00580-wmc Document #: 3 Filed: 09/21/15 Page 22 of 91

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      acfs crni/~~~fAtik.;,fS~;".,,e;tf fk1/Jf./ft o/ /11s S-ecure.d
   ..<:::.or)sftlvflo/JQl r l 1kt-r u/ki~ cz.rflc./i ~/SeG-hofl3_/4,i!;I~
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   . . /O) TJ~ d~41-fs/ afa,J/ ·f /4?e-S ;f,~r~ //-1 eeF~ /fk4f;.6/1tt-~ .
     . q,cf-5 q,lldf~/ 1~q:clJ d,;:,?rl vtt-ef f/4111--hfP- o_   l-J..{)5 s~rut .
   . . Cofls-f.,:fvfft;/14/ f?/"4j,f;> 1..11/dc-,,,.. ffe~,;td_~ /,. 't.S&/. y· /O,,,, i~/
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   .. of /i e.. U4; fed 5./--~ Coas0'*at--f/o/) ~ ;                             ·         ··   ,·

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   .. tc7J Tie Jzbc/vrf5/ C?l-<?1/-l-/#lc;; )erel~Clq~,- .#tal/C?/1~ ,/1
   . ' r~ler~e-1-o 17! '1--tt?{fb.t,.) o.llJ./5 l/}.Sfr~m~f t:>l'/l~dr,-..yJ/
   . !'1'1'eal·d - fk/11/-/Pfl_U); f-1( ouc:-1 aA-d u1tuf4( /'u,1,1JA/YI~~"
   '. JJ) f/;e. defettdur& / ~ft:tl/ ft'tt1e$ JercJ1t-qFf~ /J/f1/lf/a/l~ /A_ I'd~
   :\ €f'e.r?~L lo 't'Jilf.~/tJ (j,G,J,) ~/flt;-s /-1-1sfrutvte4-f ~.r f/eqd/Vlf~
   ;: dep1iVd P/Q/di# oP l ·s fd5?JMI a!ldfor. f<r/vQfe. fr~;;er+y . ··
   . 'fi,O/f-/z6/d S e,A~·'tJIJMfqf .(/q/ttt!--
   , jf') Thede-+e/td-e4h/ ofa/( n/Lt6 lefc.if) ctFf-e.r ;#f!.1/-,;&J,!d//lf,°'.s'4Sed
  · _q~/ e{bus&d. fhc.1rd>5creffC¥L by a,d/nj ·tl/\f1~tt.D.ble /11/iet'(               .
       . Jec;si'Dlt - fl!faK1f<95, -
    . IS) r/ie- ~-eAf~ alet!I f;'Me5 hert:1it.arref rJl~b114 j71'c/oov1d.. ··
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_ ._C.q,re <,Jh J~ C.c..u.s cd ft,t'/Yl. u~dUL- ·/;:;;//? ;
     /6) tie.. di:;../f!Af'etff:s; ctfof' ./-t"/1/e..5 Jere /11_e;,/:f c.r/1/C/ll~o/l. eJ1 / 1-e.-Pcr(l'(._d
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       C>.c.;.x.d.. k·fJ1. w1d.UL. Per:S111l or?Jy$'lc~i /d1 f'_,
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if7) ti~ clkde/Jh/4/Q/!/l!Jlcs~,~~Fl-e//lf~'~ /~ -
. refuc:,,l)c.e_ fc;f,/3 {_/J;d) o/d_;~ r~sfrl!./Y!M--f-&r f(e_-sc/IAJJ~
r3>tcJed j'/q;,, ;l.cIJ1 ~e-dfvrtf!t( <t~iiA_                 etf!llk£,,.,f,..,,,,,/d,sf!§-S. s,
  /8)r)e c:/.dellded-6-1 efa//7'i/>Je~·)ie1~1it4Ffe//flcff.t'01lecf; t/JcJcrM_ ...
  fk,!J/;ftj..c,·v,J R1Jif5_u.JA,/e. ~ie1 ~fedtu/# /fJ Ii_<- SCdfe_ .
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~ f/tA,f\ l 'H c,/// / fl 0k6_C0h/ I c ClG-f<AJ tJ .+A_t111sebtJdt.t~--{ff.tj(;c_clf1CF-
                            .TI:. JU RI.SlfLCT:co.N                  - ..... - ..
&.! ) _!Ac_ C.l/'cll.lf-Ca~l'f- oP tJcMe. tbwify/ /ooO&~r+A_o.~~ __
f)[tJ S()u.f-1 /fq/)'///~/? _dl'c.e-~;l/c;d/stJ~ U/..Z 537_tJ3 Ci.T<:t.l/7ZNe.s
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    /re/'__e. r~ 4Au- /ll'C4h oaea;, /~ de :CC.f/1't>pf't.q,-fe__ flacefc_Ca/flftle/1C~ ..
    f/z 1.5 Ct'v•l ,f(fAf.J Lb#l~J~ ht-f Cfl.JQ1//,st-d~e,1,f_s f& tsucvz-f fa
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    D23) rle-/lh;,,,if(;{f1 qhfll!~tS ~~;fl.4iFt<:r/Yfuh'.o11d; ACLS
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      Afrd 1-;2 u,s~c ~~ t-9ct7 eh.),. (s e-e cieG~cqif-t(>fl Q+-J60nJ~-t' '·
    (YI.// e1 / f\. Sc..tffO rf o; cJ<J '•T R~'7 kf-s Co(YlfkJvd ( hetel"-~
    ''Dec[, o+J:iA-ll.J;.(Vl,lLer') ct,f f/ /-.2,;713/) -. _. ·                  .
            V. N DTIF CATI:O rJ o t .CJ;f J r1 ~,T/VJur y.
 .. ~.i-J) rA e_ f/a~~+t~-f1 a+o I/._;,r, ·rvf.e5 )eFc ;ttqFf4" -(!Jetlf;'oi ~dr
 .. hces f)o r r; f l ed ~e:oh:ct-e.- <!)+-WI )-lfof'/Zer Ge~f°-crq,,f oflu·j.
 . ,C{ahv1. cutd PA..yst<:AI //i'Jw1;-c_Q·d .sd h'(dJ<A-J~f:5 6y/Y/ci 1 t~ ·
 .: V1.4 f!e1f-""/1eJ /l/a1/R /?eftt111 recr'e;;t ~ Not-le~ o.P... _J(\J wr .
 ~ q.rvd C /edM do·cum e;i.'0 ·f'er.s u tiA:f- f'.-~ -~ 6 i 3; ·8, J, \;ti.l S Sl!fl
 ~L ~ /-L_ <r/2Pl c4l- ~J-1/u_ //-~4e,Y (}-efier~ (a+ J/tj-k/t-5QS%fe_
.!. CQtlf-(J~ /f!ad~a11.~ ?J~ 5'37cJ"2-78.?:Z (-Oe.cL o.f ~~'-
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  · 19,0cBdk" c(?1JCJ / Fo~ la Ke.,. t<)~ s 3 ?3 3-..... J_L)o on At:<.1 ~'f-,i ·t2oQ,,
 .. d. cJCPI/I-If. l.E$ .iarso.n q rt.c1! fci-sbti ol"Q:;e./ 4fa11 Tt~s
... h~/'e /11.qf=fe,,r /tle/111~/lt-a w a 5 °'-      P/,ipccJAN (ct:>.>uM. nr/y            1'



 . , /.._ / CJ(J.f\S ed) tJ fA f/i e /JepTO f. Corl'; 3 0 ?f _E7JSTt</q5Jf ~f-o/1 _ .
                           1                                                          1

  _,+t/-l, />,O , B 6K 7clJ.s; /J~cl'56~ tJ~ S3'1o7-r-:77';;s; CJiuJ.se.
 . 0 W\'c<2 CJ l pl<-\ .t e. er~ e fl\. et~~ tvj,e (\,'""'(- wq.S I_() c Gv+e...~ l?\.+ Fox lct K.e
 . Corr ;L'!VS~ /leQ!fh S--e./t/1ce lf/z JT 1 tdlo237 (~Ke. /i/Yltf~R..D.~
                                         Go I-ft;;_>.
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  ~6t Box J'ltJ Fox (tl/<e.-,:lUI 53933- 01~ ?IJ All-Jv~r ~;;to(~..,
  ~l)rfie c.fe-h;duT; Slt,Scut;ff'c./lv//af""1 4/e4((d.Sd,,,_ o-1- ~1
  of"ql/ h~e-S j e/eho~ /J/-c/'fh_C?/16::(/ 4/r:is 4.4 /-s-<.5_(570-":r ..
-~A)'uQe, {tJ c/-4 -lh'e. IJe;;rc?-1 Cof'r; ,3() 9J /:'It-SI               wc&f
                                                                     1flyc-:
 .TJ/I! /fcle; t: 01 &K 77,/:S /Padi?orv cd.L.-: .53"7~7-79-2~
 ;µfosc, /%-FCe d/ e£/d-y/ft:,¢ u/4'~/dc0 t-4(' qf ~k {cuK((__, ~ ..
  Cotr J711Sf Acol~ se1111!C1L C-t/LH;.w /0237 (ceK '?.. t=-MJl~,R</_ ,
 ?.. rJ~t<Jvf / 2l7 ~ ·F:,~ /4f<e(' tt/-T -53.'f3.3-ot<77 ~/1Je..~~~d~~
'$.8) Pe cl~dc4f-, vl-11:;#q: l<cis{/ rwl e/c:'5011 (!)!-~~ .~
                                                       Ct       r
.. ~fql/ 1-~-~c. /J.qc/YLa-t:"rer-- /1~Z>~cl VaScyz- b1~f- ..
  .)i/urs{~ Mf/i #-c.. /)e{1-oltb1/) 3ct_tf ~/f-srtl}'2dlri.J~/l.                         q




. i/-tle.,1 ttJ~ikfk' 7'1~ /#~d)s-~/l.r a/£ F37o7--_ 7 9.2S";'                    _ ___       _
, tdho.se f'kice. #       vnf'h///#ur U/ct.S i?JC4- ·fe£ .i tf Fok (4K-e_ Cor~
.£izs·6· ffe_q/f't'Se/(/}cc.. cui 1ft Nt~2-.S7 !ate. 1=-~l1r Rd,, 1.0i·fid:f<
_li.( 7"H,.tlClt<e.? ?t/-I 5;5 't33;.. t!>t 'f 7 011 k1u.5!-.2t ,j(o/;l.,
_f) Cf)rkdeJurdrYff tr/eALJ( itJl0,.>!(y1 a/u;/ f«>d11 d'~et"·'q/f-~H ; ,
 ' Ti'nu Ae.('e/1Lr:zFh ·#f~4i-/CYJec:t;~t</a.J' cz14'.:53/".,>f~lft'-f-_d'u/.)--e...~ '
   IJ/l{__fie t7~+- o.f' C&_f'1 3 <!9f E45T_cJqs~/1t-J'fzri IJ:v-c( eo,8¢~ '..
    7 CJ 0 tJfdrl.2;1/t-1/..I' .637~?~ 79.:iJ7 ~~t>~· i°/ace o-t·eMp}y-..
   />1&i..f/V'q.J locCJf-ed CL--/ Po-~ /ia:Ke._ Corr If\s·f f/e_4/f'Lservf~ -­
                                        1
   Ufl/ft W(0;)_3 7 f ~~ c/Y/,ly d .retJY6o;rlf7 h~/<7~Ke1 W;i;: 531.33-'.
: 6( t.( 7; 611 _,/uj'u_>f:.,,<1.2t112 / . .. . .
 3 {)) Tft-e·de f uz d eA f J,," c// l!/l1,tt-/de r/ < q: I ec; i / -e rcJK o ..P..
                                                                       7
                                                                           .r

 Q5t, t7   C?f q-(( / c'tr;d   h ~ /'E. I~ 0tEfe/ /!1'141 f /o/l<£ d / ?£/ f?S cy4 A-.s
s._Jsh:;/lr ;t/cu'"·SLtJ,, ·flz - fke ;O-cf7·f-d? ~ ulrl" 3 :0 rf c""'A~
, fUaslc~/o/l tfc/r::_;_/:.C~ /J. c{ 7 C; ;J....5-; ~£so~ WI
                                   "? p ;;:-_)<~ .
                                   ~    :   ~ ~-.
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                                                                 -- - -   -   -       - - --- - -    -   - --- ' -- - -
_:_______ ---~ S _3 _)·CJ_?:":' _] Cf-;J..,:5,,. _VA~-52~f/9=c!?- · ofL·· ~f?_tof-_»t e:.n.·+tiJa:s~~-
_________/o Cg.fed_ctr_ Fo -t /~K~ _Car 1,....:C/J s~ /{~q ( /0_s__~[r/tl f.-t _ _
              _Ull 1-f- _6.) lo ;<__3_ 7 t ciiCe 8 JJt !_I Yid_'- f3 ~' 4 ~< ~7fo-< k Ke,J·i/.z: _ _
                                                                                  /



 _ ___ S~· 'f_~.3'-_oJ_'i-7-A"J-ttsi:__oi,/_;;Jo_t_z_,___                  · .·        - -· - - - - -
_ _____,3/J 7 _he._d~h.rtt/pvf-' tPeL f ulcL:£/"7-_Cf_f~L/:_e:t:_s_a~Q_f_ff.zJ:_c.-.~:·_ __
 _ ____qfa/L. c //14.es_i _e/e_., ·n__q_/;.t:Tf!_L /)feAl1 'b_12:_«{f'ctf!__~,s lie l:t. c/-1~q
                                                                                              ,___ _ __
____ ecif?--bL/l,_a_4cLL'o_c_L/s.:v_1:>_f&/,!_-r -S:_ti_cu1, c<t--Ub lf, ii_c.__/2e/g,__ __
_ _ _ _e_·P~·~C 4.l.~_32-.t_C(g~:s.rdr.l~s£e-J_d.5 &J11. .dtL.e.~o.JJ,p_,6._z_9,J.S,.·,__ - _ __
____·_m4      c//.o_<LL!_/_01_:c_ ~5-3_1a.-;_- z_<t.:z-~wAds~ t/9 c e o Pem,q_ld,_-_ __
  _ _ _...tJte,,1-   r aLe..s__,b_4-c.~ t~d 9 -f /2__¥-f-_&-_ L~Ke_CQ: r11--Ll\s+d_iN_)/J/'5""--·--~-
       ·--·-fto f-~·o_d u.2-Ldc£Aj"_tft.}_Jo-2..._3iL~~? ff/k!_d_':(-Kri_f;QJB_()_&l!f-~7_ _ __
           EQJ(_!o K~_,_ wx-6~3$3-3_;_ oL'f-'2--~r,.;:a.tz... ·                      ·
     _·:111-L~_V_iI~_O_LiLL_t                               s O£~&LLLE S ·
------'s_i>__r_,d_e_ tlo J(/·131. J;_fi/1_~_!1ft_j(_c/'Q!Le&L le4SD cf
                                  / /J                                                          /l       Ad-=-
                                                                                                            {_=---;- - -

---bW-~±k _B_;_ -th. Oct~ c}_W_l~<o_/_tq~_:i_t-A_i~JU-_L~fleu.....__ _
____. ia <l.PAr_,lf_e4/-;(jjj__d;f-a_r1iu:ff).?_!J~u_;J_Q_l2-~_U}_es a e, -t~
                                                                            !2_
                                                                              eo~_:_ _ _
----~o+ ±£_  e5~uLL,~t~d s_f::o_i&S._eeLld_/14~g.__c~;_f_ "z _ellt.'(-di.i.fit-tD- --
_ _ _l)czfi/JY--~ec_/!cd_fl c-/-_,6_ fLQ41/ac_'ff;ca~~'LLCuld/a~                r_·_ _
____
    1
       Cd~L tf-_~_·~r/e~a/lC~_a..f?UY- C.f ;Mcui5J_a.G+s eJJ_ Ci'.f.L~--·
____.Ta.L_/_s_C:, ~~~tte:L/JY-~Y- if!cVse>/J ~A_· /J clu , tl-'-o/- .' 2.4-d/20<-<-7'-_ -_·_ _
   _ _·//~lJ-~~tot'~t.euLJ:fl_L~Ln~tic_11.ot;
_ __                                                                                   ,
_ _ _._3 3j T_h:e_~f;li\ i_[tat_ cft.~r::.Les -L~LS.i24cice~L&:s-e1/l t:)_J.~~-­
_ _ __ a_tta1!-rL/vU,;.L_j_ect:.e'~1-Q! P1.~_tl11:.1l~~ae~,_ofL~ue.t.o/~LZ~--­
_________ s:wft1:tj Yue C::<~ ~cc ".fy _        <:J-/- q_ -_17/(__ysLc_t'~LZ. _ q,.(td_o_wr;x_-fie.._li_&t.-.~--
 - - __ _:: -H·.fJB_?.-4.,_,f-y o-e:_( _t_eg,_~~<\ ~L~ "~t-ti. or_J~~_) C<ztf'~c f4'1dCJw~--­
_____iJ<-f?d~c..lgr-r_ dtff'- 6sd~~j~k,,_h1!5 ety1_t?Lo_~~_)1 __$!#2ij11l$cfil)~_
 '    s~,i·e.£:(~r(5J ____ - ___ 8 f!_f lf?"'- - _'.__~--- - -
      - - · - - - - -·-----
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                  3if}~e dt.-ft.11dei11;, .s (./Sq/] ;Jfclflut1qy a teal l'uso" ofo.5e.-
             - qf_all f/fr!C!}e/c:rlzarfer /!/c4ft"oA'cc/ OA ,J~f"·5•:1;?;-;lo{~. 0a.5 QC-
              _f 1/l_J_1~ .- f6e.. .CctfQ( ,:,fy oPCirc Q.ssrs~vt f- ~{~~e_ cttld.o.t.<.i<L-sfie
                  Pfat/7 /1-APetdvifyofl-(re.CLSo<'"-ble_ ctAd.. oC~~qj'"( )Ce<.I"~ ~'Ut~- _
              . ott.1-e.s q_/',~ Juc./q,ty d"-fyf6 f1i.e .f v. b'I ic/A~.r e1n_p{af· er(~ )t                  .
          ___ . S uf- ·~f__ tLiso r(s) et./td Sap c.,f' ,- c t-(sj)                      . . _.., _   · __ - __
      .   3S__l;:1-e·de4eAdeA-f; 41(j e,/9 )(~s-f1 <i rea/ ferSc/t o-fot.Je i ctfa/l
           __ J

  ___ _ - 7-/_'n_-e_s/Lue.1.// Ct F(e£ /14ui ,L/cx ed1 a/l )_'? /.{, .rl-.A1Cl<J l 2rW Q.5 .
  ___ __ a~~ilf1y_fQ _£ic. Ca,1;_1c lfr a+.-ci11 cisr: ;:s~wi± }.f_c,\.\sc.a.tid o_.(.;U~.-s__ _
  __ ___ _:_--t:.ie_EL~l1- tL.f'la clufy c..P. (re.ca..sonc:l bk. Qfl_d._orclei\9-tiJ~re, .
           __ q11d_oeJJ5_ff. .f_, dUC/<.ti'( duf'(fo -ff?_
                                                         c-p\1;0 l! ct he-c e. l'i\p.lo r-er(s)
 __________ SCtf:_e£_rLL4 'o-r{s) q/Jc/_ .S~fe{ ,-oc(s) ___                             _____ . _______ . -··
_ __ ·        J__h loe d~-f!:e1£cJer1_f /d_ e/lc('{ fo[et\_:Jf i__9l f'e ..i/ f?er.sD_1\ o~q3.e..af::.q. ,f( __
      ____ _ _ 0 ·n..es he.£_e,_in_0/:_-f:--:e;"' /'/(s=-rtf/ontJ1_o/l_l-_uJ ¢~2/;2.cJl.l./~)g_S _gc:-_
  __ __-~:" f,~4jf__t Ca;;ti c,f'f &_-(> O/J ec5~1':{.fq4 //u.f-S"-o~ctnd Q)w-~5- . ft..s.____ _
________ /Z{a/11f,·..P:P q_dwfy of_(r~"-~ct'_'\bl~- g,e.~ 0_~4"-~~Y- Ccr.tf_,__ q !ld . _
___ ___           VWe? . _f= t({_'-:(CP,_ti[ y .d~(f7-:kJft~_ e~1bltf-:.1--k~ c - e flfJ \2\Q.'f.__?( ~J __.____ -·
_______           Si1.f<r-U;SO (~) CC/1_~-~~~-~fJ9 r_{5) __________________ ____·_,_ --~- ~ _
________ ___3?)_f-j_'<,._de -4/L d e_.v-1- ~ d./. fl/Lu { dyr_~ tc-~ t f ~?o 0 e ~-~1 ~~at__
  __________E)_( fi tvt~>/ef'~ /1tciF-fe--c_/ffe/1-l/p1zt:-cl Q_l7__..4ucJh--!f--21-d~l.2,_.$_Wt-O._~------- ___ _
     __-1    it\q·f~ llj /~A ;fn e-.. /f) flt e. C_opq_c_~:+t _<:iQC?-\"_J1 m.s.fevst Huf~e_ ____ ·- . _
  ____aa<:Lo_w__l!..rs_fltc..- f ltrt/n 6 "if! et c!_u;_f_y _cr~(r~s<-'_}D~c.bJt:. . C<.!\d _______ _
  _ _ ___ _ 0 :.cd ,'tLo.:lLy )_Ccu/\ ~-- c..i.tt4 o~e.b Fi 4\..\.~.Y~C\,'t- rj ~±'f _Js:;i:+~~-£~ \:J. ls .
                                                                      Q


    ____ ____ hec e.N\ ~lQ'l ~1~(?),, $ C/i r~I r.J [So if s )q...z _d 5 4-t: ef ~ o.f· \> ~ ~ .._ . _
            . ___ 3 ~--rie_def_~rJ Je_,,yi f;_l'i/'t/ /tt/ /t/< l~, C?- /e~_ ( t.Je~sorl cf'CtJ~

                                                    ~
                                                  ••~
                                                        -. .
          _ __af c,./I_ li/1,-tc_r )e./~tit..~ _;1¥-,;#'c?/Yf,,·~-/t e~ -04,lfl_,~-u.s.t_::?,1 42/2,,. __
                                                        't:f ~;. p;-,7· . -
                                                           ~   "'I   ~ ·~
                                                                     . . ._   -··   -
             I I
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             1:
           . {,

             '!:d/'as Cl c-f-,'J[_:; ,,/z f{c. Cce,;;e;.c ..,-+'( <!:; -P- Ca.. et-~1-'<\ (Cc/Id Ass tljf<J.t•f-
             . 5'ecut1'- -t'y) tU;'f /, 1-1\ f4~ ;S-ec~·/1 f~ de-fCii-btVtu•~ - C( 11J /ti- c:u..10
              a dvvfy of { C'ectsc f\abl -ec ctr1d. '1.)~d,iriv..ry} lo.re to tlte.~(c.;o­
             _1-f i··P+; C!Jldoo,J eS. 0t f ldu.c. .1-c d' y du..fy fo ·fli-r. - P~b. (,·{._/ h,·.s
             .. e111 fftJyc~(§~--SiArcr v~- so r [s)1 s~'1Pe.-c-_ ~_r(j)         ·
_ __ __~ _ _ ·               V 4 I Z · Foic f U4( - ~a-~J..5 _ _. .:. . ·         __ _
    _--~- 39) T;f-e._ f/ql17'h.~fP Jaj,I\ J:·(Y111/c0 q(cq( f?cr>ctL<:Jf4qe,
    ______( W l fh. .B,.r.f/tdafc ofl {o {J.0 { b).)f_qf~frr¥1r:fj;de__/1u~f'f~r: _
 ___ __ _ _____ ;tf't-/7/;d/!t--dAJa.;J' iJerfded/;Jt~lC/le-J. fo <-S1.~s_a~ _ /!lC1-;-;:e- S/s;/'C1f. .
____ ___(heie il1 li~r /q.sl-/2a/1_e ol Ltf!!(,f((;f' u{j)_,f/t/Je US-e!.<l)> Q _
_ _ _ ____ _f:_e<t ( feiSOI?         or-  GJC -C C.V~+h_ f.3 1. r-f?t_ dQ.fe /~/ ~/l~iv~,

    _        -- ~·eeE'X.h tb/f Pqc/16t3qfpi1 7!$,)                                                  ---   -~   -
         __ . fdJ .Ttfe. f/e7i14fl-Pft-Jolt11 JfJ1,l/-t:r/ e;r recv{ fe-rsa11...,.o fo.ye
            __ [cu_;tk B.'rffi dc~t 0 ~ Io/-;;6 I(er 6<~t:tla!/f,/.1~5 h-erC_i1 ahc-r
              /!1u1h M-t cf,, IV <>S pto u,d ed ct tr.h dd'f/;J b Mj/rr"j Ii y q ~s an
              _;J/qL't~e /!t//tJI {AJ;fh .b(ff/, deuie__ /cJ/OZS-/1 ~63/ //I tey~rds. ~o ___ _
        __ _TJe1/? be;AJ lr/edd«f/!111a/! 1.'?cl o/J_-,, £ytt£ f ~- 1118~,,_ txh ,h;f.
          ___ Pctcl<i f- 3;Cli !'I, il/./.) __ _. _  _ _                         ~ ,
            __ t../P IA-? ?/ai1 l1fl ~A~ J:/Jfr/J~-a (at.( bso'< 6T'<Je-(u.J~T+i.- - .
          _ ___ b1Nh Do.+e_ (o f..Q6 I (,:J-. ctf- .h _t.(c.;"~o..Ffe:r_ /J/c:,11/liJrJ~d1 s:::>.Mf.iJc&t .
          ____ J/;2o/;2.1 ctf o/f;ox~· fr1~l+ol~ {)(J5Pt"\ tr./~clr.ecfed/Jy a ..
         __ ..S £!(' CJ-tq,f\ f- 061\l\tt Jrn.5$+ fa rctotf fa fli_e ~x _ICfK'c;, Cq_(f'    7



           ·_:p/Js I1 Ad~t~1 i's-lreiflol t b "lil d;t_j f-a f c.rcFf f- flt e dcf:c\d~ft       0


              { Copfcii t, .) -tJ1t! ft,,9.! i/ct / i=/·h; b ~ t fa. ~-fff- s Ci+ p I/ 7J _, .. )
             .. £.fd.J lit fkr>1f1H~ - Jo i 11L )7 .;1JJ1//tr; c.1lca/ Pr.J.:52?1'\ o.fet'je.
            ~ {w ~+h &;r f/L d4fr;.. /tJ /;6 /~2) af a// T1J/~- /c1e;·ri tiAer
                                                          IC) . .-... . -;' _,
                                                     ......             1~ . :{ ~
                                                                •"""'' .}   &-· ·~-
                                                                                      ·1
                                                                                       ••
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 "11~/lf/ortu:f,,- O /J 4 u5q:5/ ~/Act.<~ 0 'Ck.5 let.I 6'(d~ff,1-c(,:-:J i=
( CQpf~'1) /JJt- I lk Iv-et; /?f~~f- a/1,:; liq- {Jo/Yle-;f o lticr
 f/za11      SLLS<:z,,-J ~f',~.'.e ~g-c;~ ftqd .5e--f-C/cz//'I)_ .fo f'(a.r//

 f »HiJ- tJedd/~               8Q/1d /r/rty qs~,r .t:7v.J.11(e.~h,'f f?ze-~ek.
 3 ~+ p:2/ 1! 8,,. J          .                            . ' > ...
 13) /,le_ f'/q//Lfd!f;, .J;A'~ .J: /Jl,j(c~ .ee (cc.( f erSotl ciflal""'(w:tn_
  B~<~.tk_ d4c to{~~ - (11 b~)1 erfq/lft1'1t~ )cte.. /Aqf:~r-;J/~IJ/id1ett
 Of/ 4l/_3d d I Ol.D {),, IJ.)0t,:5 ei.rdefcl f6 re.pert t'o~ _F~x tq,~
 Co·rr .1:.1\:5! t/-eal-11/ Sef;,/ /cc_ u11 / f-/Jy /)e-f.ot d£.-1~ f-CC4.ffe<..~' 0)
 fl e,~Pu(1.J--e-r ·se IAaf file l/e4//i/ .5q v,{ Cf. t&;t<t' r&"~kf'{J: .
 2 11£ ~ /[) e.Atlde.-1ts Chctrf e.,,s \ ~._r so ,(\ I slt s~ (\_ (Y/4.((/ 'ltT<!i'(/
A~3'd" Ka~f;, Cr/t:dr foL~t<'(J. q-uf                          J:
                                                             d ,~ fl1t<M d( .
 Could rcuvwuc ·t'k_e__ Wedd'!\') tJOJtd/.Rf'!)' 6:- xh. b.t .
 f CK e+ 3 .c,,f f? . o2~ 1111 'f-1 :;_ _) . .
   Ct                                                   .          .               .
 J1 1-f.) //}c_ f /cu'llf/ /~ J;/!/L ~--: /f /,//c;: q f'~c.j fc-rd'r:;r( 6fla:.7e.'..
(w,-fA bitthde1:fL [ofo."ft14'rJ)·?tfq(/ ltm< he l'<- l/lt::t·W~l'1fie1J?d
~eporicd. fo f£c Fell.:! etKC. Ce l'/' ri"l.-5 ~· qS ~~ 0e:c.s ~/'de.rd. '
-lb,cfo So 6ydeWc.Je,,z1-{-C q·,? f-c:u ~ ) 4/e-/ ;'~ (t/'?/; ctltd                         L.



llfo J\ ref<)(Pvt'j ·+ci tfile... he«:d/4 ~Seru ~·ce. u11f+1 /)dev1cfvi·fs; .

 CAqr/es fqcsofl. , -f~.SQIR /1/c iJfLt rrc.1~ /t1J-e...I~ (<qs'*1Weid              1
                                                                                    (   ·


f!slt/1~·ky 4/Jd Jod>/?fuld-c;- a ·dc#f/fc.,,~ q /Z d f n i-L. l'e11br•"!;
 f ke tt/eddt-15 bcw;d(/ r~ PorYl pb;nf(1'ffi..F,·11..9e-r{t-xl1Jhet
 fqcKcf 3af /? :J.<" '//f (S'-10 ~ )       "              -·               .
 'fS) 7~c ?Ja<j,;f1·'h J~A#) J:'M!!/-cr/ a rca; I fe-100J? of A,c_             1


·C(0 ~+~b·~r+h dot-e /{) /26/ ~96;J.}-( cz f-at! h'tvtc;r·/;eit; 1~Hd::~,,r
/Ylcfo//£)/lcd1 O/t .J-uJu.s f ,;;1 .)tJ / 2. ,_r/tl.f;rrvt.ed 0 c:!eJLci21\~
                           .      IJ g; ) /)L     -
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           I [




              : C hcd /e--S [ctf'Sol( ,. :5 l(Scu r !//c /J/u.rl'~i 1( 4/J7e/cc /Cqsft iJk~d y; PoJ.-
           --: eri.sk't 1 0;11d ·do dl fYl \.,<-·( de,,r,. f /,._q f L~ c. w ccs e x (-e,~ {"e t:(_c;5,.,.
           __ fq l >1_·- <illd !iu1f,·a1 Fl"101Yl_ +Ii ei(' Uflsu._cc es:s f~l{ ;1--He t'? f,;-
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           -:.t1-ff;· FfA' r/"'jif; 0A11 c.~ l:~.?YetuJ~cl tn~t/+rtof-Lh1tL 1f-eci
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     l A ~cl /JeucRfC t/1-Fec.:·+~-cl~ [ EKAib /f- fltc/(ef:3~f-;;E;r · 1f11-/.>~VJ'.)

      .C0ce- )lJ'1j" f rc;31'c#5 . ;1J.fe .5 -ol -!fc;, tJep/ ~f1{;/,r-(_ Farm-.(}o&-3o:tt) .
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      , 2o (2/ f~~ff )/acfJ to(_;:- Xh/i;,~+3 ·q5 hAiht·'f Dg_~/)
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      .50 -r/~ /~/f/o·/f; ];{~ ··J; /Yl/11-c~ af'eCZt/ /'eL\011 olccy~                       .
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      , Sf/Stt/t ;ff4J/u11'4f I& /c;-lzt//l _        / CJ/icA£a/{'/(se1vlc<-wi;fo11 . .
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         G/Je fc;,/fa,fed lie !Xysieal tit_durr <CP/l fiq//lf/-/ff /lll5f'!·tt.Je:,r .
         a11d £,Jfie1J.t)Jlc.-~l ~,lo dra/iL. · 012y-?·/tf~l1?JJJ1$. !lfq,G-vt5(/ xi1J1f /Jq,c-~
         Xe/ 3 qf;f.; 155:_)                         . - -_.             ·        -   .
    SIJ 7/{e }J/q/i;·b/lf-/ .JdA.// J;;?tIIe-1;, at l~z:ii ?e [ tcr/1 of °-Jc ..
   -(w '"~ B' r+fl dct,f-e .[() /:2 '7 ·// ct0;;._)/ afaf/l-14r::S J.~,,0~1 ?CF-fef .
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- fe_514( f- ol.l fA ~ ?Ay~lcc;;.l t.11Jt-t 1y_ Ccrrt_rYt/ f!eJ. fc,A1s rr-;J ~ ·
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'     .           B>f_-fHckfe. _/o --d_~- f'tbg_)o:lo//TJ;YJt!-.s J/cn!-.-',_t.QPf~/ft!J/,~11eJ___ ____ _
_______ q//c5e;s_-{)t:;t.-{ /l.o//e djJ .i/i.e-dzh/l/e/tl3 c?Q1:;.f~ P;efe.Cfrg,.!lt . ___ . _
 _____hr- CV uct- L!'J}~t ar_ab.sc: it,,,,fc _a:/.Yldtwi.if-r (jr_fle ~cpoecif..~V~ /._____.__
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- - - -!jl'QV Aep~~l!!/UX1-0C_,4,ftvd:rb&iLotifs_._,,,,_e_JA4~..t_ __

____f7~~~-11 aA:d,t'Lt:/t&_(_ Cet/-!-e c~
    ----~da&l::_.L_q,e:_f~ u-1-d.t=/.__ 02 /cd~ D_t_sfQi~__i_i~Ltl_e. S~~----
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                  &~..1ed_f!d:£;_~-6g_ dr~1Cf.:/_a.Ad O-J'J'-"l-/o/l~t. · /9-dt:A.o/-'A-illJs~--___
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     -~j_~i-r e/kf!k<µzL~--~----
 · - - - 5-3) rj_e_f/cz.L£1_f~:XjA_J;_,i!'/-fL/kL:-4-Cea_i_j!c:L"SdLLCJ_t<iJ~-~- - -
- - {UJL;!-J__B_[Lfj,_dz_fe_;i?6_6!L_9-6:2)a"ia/f-r4!'?es_i_eLeltLcJ.'M{!k;J_ - __
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_ _ ___.lBlL"tLd~&-Lo_/.dizf_l!lbL.l_q,,ict}1li:t/ttc5-A.;.?_JJ.L4_Et.~~~it-----
----C>..fla,c_e;Lt!_:u1Lffi;;tt:tp~ i;_~_a12y__g,f- ~;?~wtx.J&q,f:e:.~_hJ/~o ·&..____ __
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---~9,_tzl:.f?b . d~/s__;2J.vs1~ J;/?~f.tcf!d ( ~~- e-(_i!ef!_ttLi.,h e &.1<~         -e.I_,_______
_ _ _ _-f<;q f: 8r~1ec~~tt?J1J__o__-f_ eiL.Ld&Ks,-!i26- '21.e_.ct.5 & "ltLfilfcJ_g,s ~·_,____ __
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_ _ _oJ!)A _:_f-kfR?£~i>~-f2r eJL/det\C<L CExft;_b ,~t_ PQC~ef_§ Jf:-~f~J___
            ~----- _ _ _~X.Proxiffioie_~e- _ _ _ . -~. - - -
____ ------~) 77/e. ~.YA////; <!AA~ ~ !!1t!L0_aFt:ti fe/Si:JI< c-P-a7-c.(wH~j_ _                          1
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_____ [13.lLfo d3-1~ _f o!~t/t..c;a) 4_/-a-;l_ 7/if_~.5 _.1l?--!e_;~11£C_Ctp-;Jbvfo;j_al_ __ _
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         .~A//ee2j_?S M~r ~cft oxJtY'iftic-.(!<>. U:S~ I!?+ A.,5 r~'{Steq.{ '(/Ld..
          e,l'l/,o_f/CJ-1Ci/"'t7.th/ "'/ t:,> tde t"e.. C?.5 cz. /'~~/-!-: cr-J1--fi~ /1 :JL'j'q a_ .
        . Jl'-oSS. /Je5f./je~ ~/,-uL _/d-~f .o_~ f';tfe;1fYe/l€:t( eiC:f-: ·ct1t_d ..·-
          011Jl-~5/~z.J5· _oJ//,e f)e/&,dN'~· 4;/,/(c ·lfi<-y ;fofedD<.11dcr IJe taJc)/' . _
          o/sfe:tc:/'iC<J /It lie 6c~<:: ol /ie.)ce/'1.~)or-/l1c./J;S ~ __
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       _ ~st) dedek4cle/t( CAa.r/e.s /cc/ .s-d/?1 Su,.sa-Adc///ul(a-r(.
     __ . AAltJek A4b-z;_. ~Jei--idy /b)V?,s:ky/_Jodi l'i!CA/cler/fle/;_ - ·
         _(Jf.b(lk,r; ~!#-SW///<e_ U /Li f o.f-r:dxlcc~_C.Qr~l:1Js-f; __
           $eo..ef'/fy /}q;cz1"f k c,if -af2 hk ~f<e ColfJ:iisTqaf /}_~ ___ ___ _
          . o.f) .C c/kR le.ct:-{ ad a l f rf, ·c fa ( fer:soA1 af:al/_J "°;1-t:S_b~::11.J..{l~=- ___ _
         . a P.fer-/(k,4JP6/Jt:.0 . ~A tf';7t.£.5f: ~1 d/Oj 2 1__ C_,u.4ed_ {J_~,l~~;'j:.,q._{ _ - -·-.- ___
         . CJ./ld. &/lof/?1/1.~/ _ , ·11 durfe.__5   f-o f?/qlJct l/f deprtvf~J P-/?til'tJrff!__ ____________ _
          e/2!l.J:r SeOJfd CJul( Rr7/r-& u !lder 'id- ()... S.~C£%._L<(8J=-- -·------~:__
         l 988-'tl'ldfa, "£/e si-. le q,zd_,F,;de,~~l ~fl-'.(l:_.6fL,,__________ ·- --~
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____ ______ . /l1C1Jl/c;12d/---Kest e_cf£dlr Prqy fl.~f /{6_<4"t-ef_teAhJ~1JJ~t_________
 _____ _ 9rQJt;fl'71 /!/a M.f.:#; - _ _                   _~- __ ·.-· ____ --------- -- -
____ ~ 5 ]J_} de~r-41~rt~fbf_!l~ .eeg/-? ?!Ad adL'Ss1_9Jli-___d6-~-----.---
'· ____ .cr 1b_d ·h:ere./4__t!t't.i~:.f~_Pfqflz/t-M_K 15A & ultd?:.c;_tA5=_~---------- ---~ _
        . ~CoAsh'fcdic;/25     aP.fh<::,sf~ii~ <:)-f LvLsc9f/St 1\_a/ld_IJ~·citJJtecL __ _
         . 6~+c:d-e-5 cl' ./f.tJ{e/-.;ca_/ QStue/I tis udd~ -/le... f;.dcrCcj,./ _
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------~i}) _C~iYJf~~cci<?ry ~~1- cr;;v11 ~fi_e_ ~----------
 - - .4--11-1a{;L.1rf _o-P-_
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             LL?7~ 6a{)_/_oo__Cfj-QiJJST-£4£!;__/)_~a;±c                                                    .
--~6DJ-A;.J~rr-·p
                _Li'~LQ~~~_J.;_~5-Jd-~fd~Jj_~---
_ ____;:h=--ill Jv&-t~·                          · ·. ·           -~· -___
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                /!1er~;!lclrre f:rue_ ctll ct A ccurc,_fe 1 1:-:rccrY- q_0i_o _
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        -- -- - £;x_ce,p+ qsfo /l1t:itler A l/e_yc<i 6/L 1/LA~Lcrrfd(\ _q_~ . . .
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     . ___ . ___ _1_ r__u_e _Q__ ___ _________ . __      _. _         __________
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      . ____ __{_Jc:;·f Utl_af-et:c}8_{J_~ S ~ C~_§ !.7 /(b ·f l ee f _-/f_e:_ _ _ __
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 _____ __ _ ___ s;o+e-_of'_u.H.sc.o.11.s· ill              C"itrL:u-i t c:~-~t---= --------~n~~dlJ..11.fr-- ____
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-----              _pi_M-_/ijAf!,,__~.__td_a_.s._ q_11 ____ q_de,,_dc_'f--at~~~-a.rfm(;[_(_taf, (bcr~--,___ __
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                  Case: 3:15-cv-00580-wmc Document #: 3 Filed: 09/21/15 Page 42 of 91



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      Case: 3:15-cv-00580-wmc Document #: 3 Filed: 09/21/15 Page 43 of 91




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                                                                                      DANE COUNTY CIRCUIT COURT



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                        Case: 3:15-cv-00580-wmc Document #: 3 Filed: 09/21/15 Page 44 of 91
 DEP;;R"H{oENT OF CORRECTIONS                                                                                                                   WISCONSIN
 Division 'of Ad.ult lnsiituiions                           Page 1                                                                       Administrative Code
 DOC-400 (Rev. 12/02)                                                                                                                      Chapter G'OC 31 o
                                                       OFFENDER COMPLAINT
 INSTRUCTIONS : SEE REVERSE SIDE                                                                                       TO s .E FILLED_IN B)'. ICE ONLY
 ,!FFENDER NAME (lf.grollp complaint, enter name of spokespersc>n)                   DOC NUMBER                    DOC COMPLAINT FILE NUMBER


                                                                                   !tl-(73~~                                ,,. "Jr() I ). - / 7 S-f O

 INSTITUTJON NAME               OFFENDER HOUSING UNIT                     CELL OR ROOM NUMBER

  ~x l~~k                                                             I       l-[11
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 STATE YOUR     OMPLAINT


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 N A M E(S) OF PEOPLE WHO HAVE INFORMATION ABOUT TH1S COMPLAINT


n ~ YJ~ ufrl <;~            h fVivrre1~) \J (ro~viStct; 1), ~yj/
                             The ICE will acknowledge your complaint within 5 working day:s of the date of rece ipt.
                        Case: 3:15-cv-00580-wmc Document #: 3 Filed: 09/21/15 Page 45 of 91
 DEPARTMENT OF CORRECTIONS                                                                                                                                                                                                                                                                                    WISCONSIN
 Department of Adult Institutions                                                                                                                                                                                                                                                         Administrative Code
 DOC-4 10. (Rev . 12/03)                                                                                           Page d                                                                                                                                                                         Chapter DOC 3 10


                                                 ICE RECEIPT
                                     COMPLAINT NUMBER FLCl-2012-17580
                                        * * * ICRS CONFIDENTIAL* * *



       To:     MILLER, JOHN - #147363
               UNIT: 04-A - 14-B
               FOX LAKE CORRECTIONAL INSTITUTION
               W10237 Lake Emily Road
               PO Box 147
               FOX LAKE, WI 53933-0147

       Complaint Information:
           Date Acknowledged:            :os121120-12                                                                                                                                                                                                                                                                                    .
                                         ~ •   •   •   •   •   - ·-   •   •   •   ,. •   "'   "'   •   •   •   •   •   •   "'   •   "   •   •   "'   "'   "   .. •   "   •   • ·•   "   •   •   •   •   "   •   •   •   •   •   •   "'   •   "   "' •   •   •   "' •   "' •   •   "   •   "   "   '"' •   "   •   •   •   •   •   •   ., I



           Subject of Complaint:         :19 - Confidentiality of & Access to Protected Health Information
                                         ... -- . - ...... -.......... -.............. - ........ -- .... - .......... - . - .. - .... -- ................................................ -'
                                         ............ --- .. -- . -- .. - . --- ............................ -- .. .... - .. -- ...... -- ................................. --- .. - . -
             Brief Summary:                                                                                                                                                                                                                                                                                                              '
                                         :documentation from attempted ring removal

             This is to acknowledge the complaint you filed and which was received on the date indicate.d . Depending on
             the nature of the complaint, you may or may not be interviewed by the ICE. A recommendation on the
             complaint will be made and submitted to the appropriate reviewing authority within 20 working days of
             acknowledgement. A decision will be made by the appropriate reviewing authority within 10 working days
             following receipt of the recommendation unless extended for cause.
                 Please write to the ICE if this issue is resolved before you receive an answer.




P rini D ai~ : August 22, 2012                                                                 Paae 1 oi 1                                                                                                                                              Institution Compiaini Examiner's Office
                                                                                         ~ ICRS CONFIDENTIAL ~
                       Case: 3:15-cv-00580-wmc Document #: 3 Filed: 09/21/15 Page 46 of 91
DEPARTMENT OF CORRECTIONS                                                                                                                                                             WISCONSIN
Dep artmeni oi Adult lnsiituiions
                                                                            Page 3                                                                                         Administraiive Code
DOC-401 (Rev. 12/03)                                                                                                                                                          Cha pier DOC 310


                                                 ICE REPORT
                                    COMPLAINT NUMBER FLCl-2012-17580
                                       * * * ICRS CONFIDENTIAL** *



      To:    MILLER, JOHN - #147363
             UNIT: 04-A - 14-B
             FOX LAKE CORRECTIONAL INSTITUTION
             W10237 Lake Emily Road
             PO Box 147
             FOX LAKE, WI 53933-0147
      Complaint !nformation:

         Date Co mp ~a int Rece ived:
                                        r ·- - - - - ....... .. ......... ..... .......... ..
                                        :_o_~t?_1!?9~·:2. __ .. _. __ ...... :
                                                                                                                                         Inmate Contacted? :N~-                          -.. --·:
                                        ,.. ...... - .. --- .. -- ............ - .............. .. - ...... .. -. -- .. - .... - ..................... ------.. -- ---- -· .......... - .
                                                                                                                                                                                t .......... -   . . . . . .'




         Subject of Complaint:          : 19 - Confidentiality of & Access to Protected Health Information                                                                                        '
                                        - . ...... - .... .. . . .......... . . -- ................ -.... -- .............. .. .. -- .. - ...... - .... - ...... . - .. ........ - ...... - . - . .      .
         Document(s) Relied Upon:       :BHS 500:08
                                        ....................... - ...... . -- ............. . ....... .... ........ -- ...... - . - .. - .. - .... - ...................... -- .... ........ .'
                                                                                                                                                             - --
                                        ,.. - ............ - .... .. - ........ -- ............. - ...... - .. - .... .......... -- .... . - ...... - ...... .... .        .... - . .... ...... - - . .
         Brief Summary:                 :documentation from attempted ring removal                                                                                                                    '
                                        ..... - ..... .. - ........ - ........ - .... .... .... - .. - .. --- . . - ...... - ..... ..... ......... - .... - ...... -............ -...... - ....... .
                                        r • - -- :.. • - • • • - ... - - - - · - - · · • • - • - - - · - - - · - .. - - - - - · - - • • • - · - - - - - • - · - - • .. - - • - - · - - .. • - ,
         Summary of Facts:              ;Inmate Miller compl ains he has not received documentation about an attempted:
                                        ;ring removal. Claims he req uested this on 8-2-12.                            '

                                        :Per BHS policy 500:08; Req uest by Patient to Inspect and Obtain Copies of
                                        :Personal Health Information; the inmate must req uest the information using
                                        ;ooC-1163A and include a disbursement request DOC-0 184. HSU staff then
                                        ;has thirty days to process an inmate's request for copies.

                                         :Based on the above, the inmates complaint is premature . Recommendation is ,
                                         :ror dismissal of the complaint                                             :
                                         I ,. "' • • " .. " • • ' " " " " " • • " • " ' " " "" " " • " " " • " " " .. " .. """"" .. " " " " • • • • " " • " " • • " • • • • " • • • • " " " " .. '


          ICE Recommend ation:           :Dismissed
                                         - . . . - .. .. . - ... . . .... - . . - .... - ........ - .................. - . - ..................... --- .. - .... - .. - ........... - .... -. .'
          Recommendation Date :          08/22/2012




                                          Renee Schueler




Prini Date: August 31 , 2012                                                  Page 1 oi 1                                                              lnsiituiion Complaint Examiner' s Office
                                                                   - ICRS CONFI DENTIAL ••
                         Case: 3:15-cv-00580-wmc Document #: 3 Filed: 09/21/15 Page 47 of 91
  DEPARTMENT OF CORRECTIONS                                                                                                                                                                                                                                                                                                                                                                                                                   WISCON91N
  Department of Adult Institutions                                                                                                                          Page 4                                                                                                                                                                                                                                               Administrative Code
  DOC-403 (Rev . 12/03)                                                                                                                                                                                                                                                                                                                                                                                                  Ch apter DOC 310


                                              REVIEWER'S DECISION
                                      COMPLAINT NUMBER FLCl-2012-17580
                                         * * * ICRS CONFIDENTIAL* * *




         To: MILLER, JOHN - #147363
             UNIT: 04-A - 14-8
             FOX LAKE CORRECTIONAL INSTITUTION
             W10237 Lake Emily Road
             PO Box 147
             FOX LAKE, WI 53933-0147
        Complaint Information:
                                            r .................. - .... - ...... - .............. .
           Date Complaint Received:         :08/21 /2012                                        :
                                            ........ - -- . - --...... ------ ...... - .. - .. '
                                            r .................... - - ...................................... " .. ...... .... ....................... • ............ • ...... - .................. '

           Subject of Complaint:            :19 - Confidentiality of & Access to Protected Health Information
                                            ...... -- ...... - - ...... - .. - - -- .................. - . .......... - ........ - - - .................. - ............ - .... - ..... - ...... - - .:
                                            r ...... " .............................. • ........ • ........................................................ • " .... ...... • • ............ ' .. '

           Brief Summary:                   ;documentation from attempted ring removal                                                                                                  '
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           ICE's Recommendation:

           Reviewer's Decision:
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                                            I   •   "       •       "       "   "   "       "       •       "       •       "   "       •       •       •       •    "   "   "   •   •   "   "   "   "   "       "'       "'   "'   "    "   ,.   •       "   "      "   •   •       •       "           •       "       "   "       "       "   "   "    "   "'     "       "       "   "      •   •   "    •       "   "   "   "        •       •   "   "   ...    "   "   .,




           Reason(s) for Decision:          :If there is documentation in the Medical Chart about the alleged actions by HSU:
                                            :staff to remove his ring, the HSU has 30 days from his request in which to      '
                                            '                                                                                                                                                                                                                                                    '

                                            :provide a copy of the document. He will be assessed 15 cents per page. The
                                            :30 day time frame had not ended as of the filing of his complaint, but will
                                            ;on/about September 2, 2012. The HSU should inform Mr. Miller .of the number
                                            :of pages in his Ch art related to the ri ng removal immediately, so that he can
                                            '.sign a DOC-0184 Disbursement Request.
                                                "   •   "       "       "       •   "   •       "       •       •       "       •   •       "       "       •       ..   .. .... "       "   ....    •   •   •        "        ........           •   "       .. "       •   "   "       "           •       "       •       "   "       "       .... "       .. •       •       •       .. •       "   •    "   "       .. "    "    "       •       •   "   .. "       .. " I



            Decision Date:                      08/31/2012




                                                Gloria Marquardt

            CC:
                    Distributed via email
                        Meier, H

            A complain ant dissatisfied with a decision may , within 10 calendar days after the date of the decision , appea l
            that decision by filing a written request for review with the Corrections Complaint Examiner on form DOC-405
            (DOC 310 .13, Wis. Adm. Code).




Pri nt Daie : August 31 , 201 2                                                                                                                                     Page 1 of1                                                                                                                                                                                                                                                                        Reviewer' s Office
                                                                                                                            ~ JCRS CONFIDENTIAL ~
                    Case: 3:15-cv-00580-wmc Document #: 3 Filed: 09/21/15 Page 48 of 91
  DEPARTMENT OF CORRECTIONS                                 Page 5                                                     WISCONSIN
  Division of Adult Institutions                                                                              Ad ministrative Code
  DOC-405 (Rev. 12102)                                                                                          Chapter DOC 310

                REQUEST FOR CORRECTIONS COMPLAINT EXAMINER_. REVIEW
  INSTRUCTIONS:
        1. Rejected complaints can only be appealed to the appropriate Reviewing Authority. That decision is final .
        2. Prepare an original and one copy of this request. Please print or type.
        3. Keep the copy of this request for your records and send the original, in a sealed envelope,.to:

                                          CORRECTIONS COMPLAINT EXAMINER
                                          DEPARTMENT OF CORRECTIONS
                                          PO BOX 7925
                                          MADISON , WI 53707-7925

 I p~~T I - MUST BE COMPLETED                                                                   .                                    I
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  S I ATE BRIEFLY W HY YOU ARE NOT SATISFIED WITH THE ACTION OF THE APPROPRIATE REV IEWING AU 1 HORITY                  .


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~,t led ft dcx_v-Pvit-dDtr~-)o· -i=elSe O! ~ u~'1f~cl cf_~ f//\ ~
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                                                 ( CONTINUE ON REVERSE SIDE)
                             Case: 3:15-cv-00580-wmc Document #: 3 Filed: 09/21/15 Page 49 of 91




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                                                        Page   6



                                                                      .   "'   .f             ' _j_   )   -



    •   .l.




              PART 2 - IDENTIFY AND LIST ALL FORMS OF PROOF YOU HAVE OR ARE AWARE OF THAT SUPPORTS YOUR COMPLAINT.
              NAME OF PERSON WHO CAN VERIFY YOUR STATEMENT         WHERE CAN THIS PERSON BE REACHED




              WHAT WOULD THIS PERSON VERIFY




              PART 3 - MUST BE COMPLETED
                                                                                                      DATE SIGNED ·· . ... ...•.•.... . ..

                                                                                                      .. ·Cp1~t-a1& < .
                          Case: 3:15-cv-00580-wmc Document #: 3 Filed: 09/21/15 Page 50 of 91
  DEPARTMENT OF CORRECTIONS                                                                                 Page               q                                                                                                               WISCONSIN
  Department oi Adult Institutions                                                                                                                                                                                                Administrative Code
  DOC-405A (Rev. 12103)                                                                                                                                                                                                               Chapter DOC 310


                                                                  CCE RECEIPT
                                                      COMPLAINT NUMBER FLCl-2012-17580
                                                         * * * ICRS CONFIDENTIAL***




       To:      MILLER, JOHN - #1.47363
                UNIT: 04-A - 14-8
                FOX LAKE CORRECTIONAL INSTITUTION
                W10237 Lake Emily Road
                PO Box 147
                FOX LAKE, WI 53933-0147

       Complaint Information:
          Date Appeal Acknowledged:                             :9~i)-Q!~Q-)-i_ -. -_ -_ ·. ·. ·_ -. ·. ·. ·. ·. ·. -. ·. ·. ·. ·. ·. ·. ·. ·. ·. ·. ·_ -. ·_ ·. ·. ·. ·. ·. ·. ·. ·. ·. ·. ·. -. ·. ·. -. ·. ·. ·_ ·. ·. ·_ ·. -. ·. ·. ·.·. ·_ ·. ·. ·. -.·. -. ·. ·:
                                                                 ............... ----·----- .. ·------------··- . ·---- . --------- .. ·---- ....................... ..
          Subject of Complaint:                                  :19 - Confidentiality of &Access to Protected Health Information                                                                             :
                                                                 ....... - .. ----- . --- . - .. - - ..... - -........ - .... -.... -- -... - .............. ----- ........ - ............ -- ........... . · '
                                                                 .........................................................................................................................................
           Brief Summary:                                                                                                                                                                                        '
                                                               :documentation from attempted ring removal                                                                                                        '
          - - - - . ... - . - - - - . - ... . - - -- - - - - - - - - - - - - - - - - - - - - - - - - - - . - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - . - - - - - -

           Your request for review has been received .

           The Corrections Complaint Examiner (CCE ) has 35 working days to submit a recommendation to the Office of the
           Secretary (OOS f for Revlew. The OOS has 10 working days to make a decision after receiving the CC E's report.
           The OOS may extend the time for making a decision for cause and upon notice to all interested parties .
           If you do not receive a decision or other notices within that time, you may write directly to:

                                                        Secretary of the Department of Corrections
                                                        Post Office Box 7925
                                                        Madison , WI 53707-7925




Print Date : September 11, 2012                                                                     Page 1 of 1                                                                                    Corrections Complaint Examiner's Office
                                                                                              - ICRS CONFIDENTIAL •*
                      Case: 3:15-cv-00580-wmc Document #: 3 Filed: 09/21/15 Page 51 of 91
 DEPARTMENT OF CORRECTIONS                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   WISCONSIN
 Department of Adult Institutions                                                                                                                       Page 8                                                                                                                                                                                                                                                                                                                                         Administrative Code
 DOC-404 (Rev. 12/03)                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               Ch apter DOC 310


                                                CCE-REPORT
                                    COMPLAINT NUMBER FLCl-2012-17580
                                       * * * ICRS CONFIDENTIAL***




       To:   MILLER, JOHN - #147363
             UNIT: 04-A - 14-8
             FOX LAKE CORRECTIONAL INSTITUTION
             WI 0237 Lake Emily Road
             PO Box 147
             FOX LAKE, WI 53933-0147
       Complaint Information:
         Subject of Complaint:         [1:~ ~:~?~~~~:~t'.~1It!:~( ~:~??~~~:~~: ~!?!~~t~d: ~~~1!~~1~!~~~~!i?:~:::::::::::::::
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         Brief Summary:
                                       , _ ......................... - .... -- ........................ - .... - . -. - ................................ . -- ........ - ....... . ..                                                                                                                                                                                                                                                                                                                                                                                                         :

         Method of Disposition:                Review on Record? ·:y ~~ ---.                                                               Investigation? :·N~ ... -.
                                                                                   ...... - . -....
                                       ...................................... .. ................................................................ ..... .......... . ............... ,
         CCE's Recommendation :        :Dismissed                                                                                                                                   '
                                       ..................................................................... . ...................................... . ............................'
                                       I'"   •       "' •       "       •       •       •       •       •       •       •       •       •       •       •       •     •    "'       ..        •       ..       •       "'       •       •       "       "       "       "       •       •       •       •       •       ,.       •       "       "'   •       •       ..       •       •       •       "'   "' •       •       ,.   •        ,.   •       •       "'   •       •       •       •       •       •        .,. •        •       •        •       •       •       •       •       •        I

                                       :The institution's decision reasonably and appropriately addressed the issue                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    :
                                       :raised by this inmate. On appeal , the inmate presented no information to
                                       :warrant a recommendation overturning that decision .          ·
                                       '
                                       :Thus, it is recommended this appeal be dismissed .
                                       I•        •    •     •       •       •       •       •       •       •       •       •       •       •       •       •       • ••        •        .,       •        •       •        •       •       •       •       •       •       •       •       •       •       •       •        •       •       •    •       •       •        •       •       •       •    •    •     •       •    •       "'    •       •       •    •       •       •       •       •       •       "'    "'     "'       •       "'       •       •       •       •       •       "'




          Recommendation Date:          09/11/2012
                                                                                                                                                                                                      •                     I




                                             Charles Facktor




Print Date : September 12, 2012                                                                                                        Page 1 oi 1                                                                                                                                                                                                                                                                         Corrections Complaint Examiner's Office
                                                                                                                                •• ICRS CONFIDENTIAL ~
                    Case: 3:15-cv-00580-wmc Document #: 3 Filed: 09/21/15 Page 52 of 91
 DEPARTMENT OF CORRECTIONS                                                                       Page                        ·9·                                                                                                                                                                             WISCONSIN
 Departmeni of Adult lnsiiiuiions                                                                                                                                                                                                                                                       Ad ministrative Code
 DOC-408 (Rev. 12/03)                                                                                                                                                                                                                                                                           Chapter DOC 310


                                                OOS REPORT
                                    COMPLAINT NUMBER FLCl-2012-17580
                                       * * * ICRS CONFIDENTIAL * * *




      To: MILLER, JOHN - #147363
          UNIT: 04-A - 14-8
          FOX LAKE CORRECTIONAL INSTITUTION
          W10237 Lake Emily Road
          PO Box 147
          FOX LAKE , WI 53933-0147
      Complaint Information:
                                        ,.   ----.. --. - . --- . -- .... . --- ........ - .. - ..... -...... - ........ - .... --.... - ...... -.............. -.......... . .                                                  -.

         Subject of Complaint           :19 - Confidentiality of & Access-to Protected Health Information                                                                          '
                                                                                                                                                                                   '
                                        ,. .... . .......... ---- .... ----- .. ------ .. - .... - .... . - -.... ---- .... - ........ -- ....... .... - .. - .. ... - .. .... - . .
         Brief Summary:                 :documentation from attempted ring removal                                                                                                  '
                                                                                                                                                                                    '
                                        ----·--······· ··-· ··· · --------- - --·--------- -- ······ · - · -- · -- ·----·····1
         OOS Decision:                  :Dismissed                                                                                                                                                                                                                                                                                   :
                                        I    "   "'   "   "   "   "   "   "   ,. "   "   "   "   "   "   •   "   "   "   "   "   "   "   "   "   "   ,.   "   "   "'   "   "   "   "   •   "'   "   "'   •   "   "   "   "   "   ,. "   "' "   "' "   "   •   "' "   "   "'   "'   "'   "   •   "   "   "'   "   "   "   "   "   "   "



         Decision Comments:             ~rh~ ·t~i1~~i~9· i~- th~ s~~r"et~~y·~-ci~;i-si~~ -~~ -th~-c~~~~ti~~~ ·c;~p1~-i~t - - . - .. - .
                                        :Examiner's recommendation of 09/11 /2012 in the above case :

                                       . :rhe attached Corrections Complaint Examiner's recommendation to DISMISS :
                                        :t_h_i~ -~~1'.l?!~i_n_t _i~ -~~~~~~e:~ ~-s- ~h-~ ?.e:~i~i_o_n_ ?~ ~~~ _~~?'.:~~ry: _.. __________ .. _. _;
         Decision Date:                     09/12/2012




                                       Ch arles Cole




Print Date: September 12, 2012                                                               Page 1 of 1                                                                                                                                                                                        Office of the Secretary
                                                                                     ... ICRS CONFIDENTIAL••
                      Case: 3:15-cv-00580-wmc Document #: 3 Filed: 09/21/15 Page 53 of 91




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                                                                                                                 JUL     1 2015
                                                                                                           DANE COUNTY CIRCUIT COURT
                      Case: 3:15-cv-00580-wmc Document #: 3 Filed: 09/21/15 Page 54 of 91
          . ~,-tSconsin Department of Justice
            DJ-L~25 (Rev. 2111)
                                                                   Page 1
                                                         STATE OF WISCONSIN
                                                NOTICE OF INJURY Ml) CLAIM
                                                    Pursuant to WIS. Stat Section 893.&2

ThlS notice must be served upon the Attorney General by certified mail within UO days of the event giving rise to the claim for
such injury, damage or death at 114 East, State Capito~ Madison, W1Sconsin. 53707-7857.




  Address                                                                                                Phone

   Po 1k ~                                                                                                       /u(/f
  1 irrie and Date of Occurrence                                            Location

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  Statement of Circumstances Giving Rise to the Oaim for Such Injury, Damage or Death and Names of Persons Involved,
  Including Name(s) of State Officer(s), Agent(s) or Employee(s).                      .
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 I certify that the above-descnbed injury, damage or death actually occurred, that I have read 1he above foregoing notiee of ID,jury and claim,
 and that 1he same is true to my own knowledge except as to 1hose matters stated upon information and belief and as to" 1hose matters, I
 believe the same to be true.

· Date:_9'_-_/_8_-_/_;2..._·_ _ __




 Notary Public, Stare ofW:-wconsin                      ,.. _/)
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 My Commission:             /J .
                            /J--)?'/./)
                              I
Case: 3:15-cv-00580-wmc Document #: 3 Filed: 09/21/15 Page 55 of 91



                                                      Page 2




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         item 4 if Restricted Delivery is desired.
       • Print your name and -address on the reverse                                       .~   1     0       r2-: '? , 1 ;o.R r. \         D Addressee
         so that we can return 1he card i:o you.                                    S:' Rec~~ed 'by ( P;;;ted Name) - -                C. Date of Delivery
       • Attach this card to the back of the mailpiece,
         or on the front if space permits.
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       PS Form 3811 , February 2004                             Domestic Return Receipt                                                    102595-02"M-1 540
    Case: 3:15-cv-00580-wmc Document #: 3 Filed: 09/21/15 Page 56 of 91




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                                                                                            JUL     1 2015
                                                                                      DANE COUNTY CIRCUIT COURT
   Case: 3:15-cv-00580-wmc Document #: 3 Filed: 09/21/15 Page 57 of 91




1. I am John Miller, the plaintiff in this matter.
2. I am an inmate at Fox Lake Correctional Institution in Fox L a~e,
   Wisconsin.
3. On August sth, 1986, I was married in the State of Wisconsin to Susa
   Marie Miller (nee SIGLER, ) whose date of birth is December 25th, 1963

 4. At the time of the wedding, my wife provided me with a wedding ring.
      This ring consisted of a single band of either stainles-s steel o
      sterling silv er, with no adornments of note.
 5 . I have worn the ring described abov e since the date of my marriage.
 6. On August 2, 2012 at approximately 12:25pm, I was directed by Sgt .
      Donna ANGST to report to Fox Lake's Administration Building and report
      to Capt. Mel PULVER.
 7. I reported to the administration building, as directed and met PULVER.
 8. PULVER interviewed me and asked if I was married.       I indicated that I
      was and provided PULVER with my wife's name., date of birth and social
- - -security number .    PULVER advi sed me that another woman stated that m
      wedding ring belongs to her .     I advised PULVER of the history of th
      ring, including the time it was acquired and the length of time that I
      had been wearing it.
 9. PULVER stated that the ring needed to be removed and that I must sen
      it to the woman claiming it is her.s or there would be theft charge
      filed.
 10.         PULVER indicated that I was ordered to report to Fox
      Health Services Unit (HSU ) to have the ring forcibly removed
      finger, since the ring is not able to be removed without
      int ervention .
 11.         I again advised PULVER that the ring does not belong to anybod
      but me.   PULVER indicated that I had no choice in the matter and that I
      was ordered to report to the HSU to have the ring removed .
 12.         PULVER further stated that prior to calling me to his office,
      that he had made arrangements with the HSU and that they were expectin
      me.
 13 .        All inmates are prohibited from refusing orders from securit
      staff, as directed in Wisconsin Administrative Code, DOC§ 303.24.
 14.         I reported to the HSU as directed at approximately 12: 4 O pm.   I
      waited until approximately 2:10 pm before being seen by any HSU staff
      member.
 15 .        Upon finally entering the HSU as directed by PULVER, four HS
      staff members entered the exam room .    These staff members were Charles
      LARSON, Wendy POLENSKA, Susan MCMURRAY, Angela KAST and Jodi MULDER.
 16.         When the HSU staff entered the room, each of them attempted t
      remove my wedding ring.    A variety of methods were used including, but
      not limited to, twist ing, turning, pulling, rubbing, lubricating,
      prying and tugging.
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       1 7.           While the HSU staff was attempting to remov e the ring, I v erball
             expressed the pain that I was f e e l i ng i n my finger due t o t he ext r em
  f          e ff ort s o f the se i n div idu a l s i n att empt ing t o remov e the ring .
 j     18 .            I i n formed MCMURRAY t ha t I d i dn' t want to k eep try ing because t h
             pai n was too much .         MCMURRAY indic ated t h a t s ince PULVER ordered
             remov a l o f the r i ng, s taf f n eed e d t o c ontinue to try t o r emov e
             ri n g .
       19 .           After approximately ten minutes o f staff attempting to remov e th
             ring , a de ci si on was made that the ring was not ab l e to come off .
             was d i rected to re t urn to my unit .
       20.            Later t h at same day (Augus t 2, 2012, ) at approximatel y 7: 2 0 pm,
             was      directed     by   Sgt.       Bri.:i.n SCHMIDT     to   again   report  to  th
             administrat i on building to meet with Capt. Joseph MARWITZ.
       21 .           Upon meeting wi th MARWITZ, I was i nformed that he (MARW I TZ ) woul
             be tak i ng photographs of the r i ng on my finger to turn ov er to la
             enforcement .
       22.            I explai ned to MARWITZ that the ring is mine from my marriage an
             MARWITZ exp l ained that he didn't clearly understand what was going o
             but neede d to take photographs of the ring on my finger.
       23.            MARWITZ proceeded to take photographs of the r i ng on my finger .
       24 .           MARWITZ l ater explained that I would be transported t o a local
             hospital emergency room to hav e t h e r i ng surgically removed if I was
             unable to get it off my finger.                   I adv ised MARWITZ that I was not
             grant i ng permission for any one to remov e the r ing, surgical ly o
             otherwise, without a court order .
       25.            MARWITZ informed me that all charges and costs wou l d be m
             responsibil i t y and that whatev er ended up happeni ng would be at m
             expense .
       2 6.           MARWITZ further explained that-- the~ -ivionroe County
             Department would be sending a law enf o rcement officer to Fox Lake t
             speak with me i n relation to t h e ring.
       27 .              I i nfo rmed MARWITZ that I would not be wi lling t o speak wi t
             any law enforcement un l ess an attorney was present i n order to pro tect
             my r i ghts .
       28.            MARWI TZ inf o rmed me t h at desp i te my r equest fo r an attorn e y,
             officers woul d still be coming t o Fox Lake to speak with me .
       2 9-.           I returned to my housing unit at approximately 8 : 0 7 pm .
       3 O.           Upon returning from the admini stration bui l d i ng, I had a casua
             conv ersation with SCHMIDT.
       31 .            SCHMIDT i ndicated that all DOC staff members rece ive training o
             what is called unheralded personal injury and that the staff inv o lve
             in this situation should hav e known better than t o hav e done what the
             did .
       32 .            SCHMIDT went on t o indicate that he hopes that I litigate
             aggressiv ely towards the institution and even went so far as to provi d
             the name and contact information for the attorney that he uses f o r h is
             priv ately owned busi ness .           This conv ersat i on took place direct ly in th
             v isual and audible range of the insti t ution security camera that points
             down the hal l of h ousing unit 4A.
       33 .           Anticipating a serious legal situation requiring ev idence an
             records, I completed and submitted a DOC-3035 (Health Servi ce Request )
             form reques t ing c opies o f all records and notes from t he interact i o
             experienced in the HSU on August 2nd, 2 012. Exhibit A
       34 .            On August 4 th, 2 01 2 , at approx imatel y 12:3 0 pm , I no ticed wha
             appeared to be a boil and extreme swe l ling of my ring finger .                      I
             addit ion, t he joints in this finger and the rest of my h and were i
             ex treme pain.        I showed the s welling and bo i l t o inmates Thomas LYO



                                                                                               c
  Case: 3:15-cv-00580-wmc Document #: 3 Filed: 09/21/15 Page 59 of 91




     and Jesse RODRIGUEZ.      I completed and submitted a second DOC-3035
     requesting treatment for the newly dev eloped medi cal concern.
     finger. Exhibit B
35 .       Shortly thereafter , at approximately 12:40 pm, I spoke with .ANGS
     and inquired as to whether some additional photographs may be taken i
     order to preserve ev idence after the earlier incident . ANGST wanted t
     see the injury so I showed it to her.     ANGST indicated that it loo.ke
     like it hurt.    ANGST contacted PULVER via telephone to request whethe
     photographs could be taken . ANGST indicated that no staff member woul
     be taking photographs since preserving evidence would be my o
     responsibility .
36.        Upon hearing this news, I became emotionally distraught and angr
     regarding the incident.
37 .       In response to my emotions, I completed and submitted a DOC-3035
     (Psychological Service Request ) requesting to speak with a counselo
     about the issues. Exhibit c
38.        On August 6, 2012, at approximately 9:45 am, I was scheduled
     report to the HSU in reference to the DOC - 3035 that was submitted o
     August 2, 2012.
39.        When I was seen in the HSU, I was seen and treated
      Exhibit D
4O.        I inquired with MCMURRAY who gav e the order to have my weddin
     ring removed and whether or not that person has the authorization to d
     such a thing.
41.        MCMURRAY informed me that the order came from PULVER and
     issued prior to me even reporting to the administration building
     the first time on August 2, 2012.
42.        MCMURRAY went on to say that the HSU: __staf f_)1a_d .no business eve
     trying to remove the . ring.    MCMURRAY informed me that it would be
     good idea if .I · chose to litigate against the state and
     provided me with all the names of those involved with
     treatment on August 2, 2012, including first and last names.
43.        MCMURRAY indicated that all staff is required to follow direc
     orders from supervisors and that PULVER is considered a supervisor,
     even though the HSU department i s separate from security .
44.        MCMURRAY indicated that the finger appeared to be infected
     needed drainage .
45.        MCMURRAY performed a medical procedure to drain the finger in
     effected area.    MCMURRAY noted that the tissue on the finger seemed t
     indicate a large infection.
46.        My ring finger has never had medical problems prior to
     sequence of ev ents, despite wearing my wedding ring for over. 30 years.
47.        MCMURRAY advised me that I would need to be seen in the
     next day (August 7, 2012 ) for a follow-up appointment.
48.        On August 7th, 2012 at approximately 8:30 am, I left
     assignment post as painter to report for an appointment at HSU.
49 .        I was seen in the HSU by MCMURRAY. Exhibit E
50 .       MCMURRAY indicated that my finger continues to look infected .
51.        While in the HSU exam room, another HSU staff member KAST ·
     into the room to assist MCMURRAY.
52.        KAST indicated to me that she was _u nder the assumption that I was
     the one that requested the ring be removed.
53.         I advised her that it was being done against my wishes and that I
     was not the one who requested to have my ring removed.
54.        MCMURRAY interjected and told KAST that I was right and that th
     DOC had no business e v en attempting to remove the ring.           MCMURRA
     continued to tell KAST more details about the incident when staff




          Affidavit in Support of Plaintiff's Verified Complaint    l
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          attempted to remov e the ring.          KAST reminded MCMURRJl.Y that she was
          present when it was taking p l ace , after whi ch time KAST left the .exa
          room.
     55.         MCMURRAY stated to me that KAST' s recollection of the inciden
          was not the way that it went.         She reminded me that I was not t he one
          who asked f or the ring to be taken o ff, that PULVER was.
     56 .        MCMURRAY palpated the injury on my finger and attempted to .drai
          any infectious mucus .      After being unable to drain the injury, s h
          bandaged it up and advised that I would need to return to the HSU o
          Thursday, August 9, 2012 for a follow up appointment.
     57 .        I  asked MCMURRAY about         the records that          I  h ad
          requested as related to the incident on August 2, 2012.
          reviewed my medical chart and advised that there was absolutely n
          record what-soever from the encounter on August 2, 2012.
     58 .        I asked MCMURRAY if she would be willing to provide a statemen
          in   relation   to    this  inc i dent,    to    which    she   responded   to  th
          affirmative.
     59.         MCMURRAY stated that she would discuss writing a statement an
          the records in question at my scheduled HSU appointment on Thursday,
          August 9, 2012.
     60.         I   left   the   HSU   and    returned       to  my    work   assignment  at
          approximately 8:45 am.
     61.         Later that same day, after still not receiving any documentatio
          from my HSU v isit on August 2, 2012, I submitted another DOC -3035
          asking for i nformation as to when I would be receiving my requeste
          documentation.
     62.         On August 8 , 2012, at approximately 8:00 am, the first
          relief Sergeant on duty for housing unit 4 (name unknown at this time )
          ordered me to report · to-tE.'e"A.i:imin1sF!:-a'"tio~ Building for an unspecifie
          re ason.
     63.         I reported to the pass officer at the Administration Building an
          was directed to present myself at room 351 in the same building.
     64.         I me t with staff psychologist Linda NAUTH in respons e to
          previously submitted DOC-3035B, submitted on August 2, 2012.
     65.         NAUTH asked me what the problem was as it related to my complain
          on the DOC-3035B.
     66 .        I explained, in deta il, the incident s that happened with HSU an
          security staff o n August 2, 2012.
     67.         Based on NAUTH' s responses, it i s my belief and underst and in
          that she was well aware of the situation prior to seeing me in he
          office.
     68.         NAUTH proceeded to inform me throughout the conv ersation that
          felt I should simply allow my wedding ring to be cut off, despite m
          emotional attachment to the ring.
     69.         I asked NAUTH if she was married to which she replied in
          affirmative .   I asked NAUTH if she would be wi lli ng to le t someone
          her ring off her finger and d es troy it against h er wil l a nd against
          wishes.     She explained that she felt no emotiona l attachment to
          ring and would,       in thi s    situation,      comply with that r equest
          necessary.
     70.         NAUTH asked me why I had such an extreme e motional attachment
          my weddi ng ring.     I explained to her that this was the only r emainin
          connection to my wif e that I h ave and that the symbolic ring means mor
          to me t han any other possession that I have .
     71 .        NAUTH told me repeatedly to le.t the ring be cut o ff my finger.
     72 .        I felt as though NAUTH was attempting to obtain permission fro
          me to allow the forcible remov al of my r i ng.




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     73 .·       I insisted that I was not · going to allow anyone to attempt t
      · r emov e the ring ever again without a court order.
     74 .        NAUTH as k ed me what I wanted from our interaction in her office.
     75.         I informed NAUTH that I wanted to tal k about the emotional impac
          these incidents have brought on, including depression, anxiety , traum
           and other menta l states that I have felt since this incident began .
     76.         Nll.UTH 'stated that she could see that there was · emotional distress .
          because of the s i tuation and empathized with those feelings, however ,
          offered no copi-ng strategies, · othe-r treatment plan or therapy.
     77.         At this point, it was clear that NAUTH was not going to assist i
           the psychological aspect of the situation, so I decided to terminat
           the meet{ng .
     78.         I adv ised NAUTH that I wanted · a -complete and accurate report o
           our meeting.
     79.         NAUTH ihdicated that she would complete the report and send it t
          me via institution mail by the end of the day today, August 8, 2012.
     80.         I left the office and Administration Building at approximatel
           8:45 am and returned to my work assignment in the institutio
          maintenance shop.
     81.         Later that day , I receive d a copy of DOC - 3473, Psychological
          Services Clinical Contact, as requested from NAUTH i n this day 's vi sit.
           Ex h ib i t F
     82.           Because I was unsatisfied with my service from NAuTH, I submi tte
          another DOC-3035B, requesting a different provider and to be seen by
          member of the psychology staff again.
     83.           Later that evening, August 8, 2012, at approximately 6:05 pm, on
          of the nurses who was present at the August 2, 2012 attempted rin
          remo.Y.a L _.incident (KAST) arrived on my housing unit (4 ) to gelive
          medications .
     84.           I approached KAST with the intent of asking her if she kne
        · anyt hing about the documentation I had requested from HSU .
     85.           I asked KAST if she remembered me from the other day' s attempte
          ring r emoval incident.
     86 .          KAST indicated that she wasn't actually in the exam roo
          assisting, that she was simply handing out medications.
     87.           KAST's recollection of the ev ents is incorrect.
     88.           I attempted to prompt KAST' s proper memory of the incident b
          asking more questions.
     89.           KAST denied ever be i ng in the exam room and ev er telling me
          I should hav e a physician look at the injured ring.
     90.           It is my belief that KAST was attempting to distance herself
          the situation because HSU staff is aware that I am preparing
          litigate in relation to this situation.
     91.           KAST left the housing unit at approximately 6:07 pm.
     92.           On August 9, 2012 I went to my work assignment at maintenance at
          8:00 am . Shortly .thereafter, I left my work assignment and went to the
          HSU for my scheduled appointment at 8:15 am. Exhib i t G
     93.           Upon arrival, I was seen by MCMURRAY.     She looked at the injur
          to my finger, indicated that it was looking better.· I told her that I
          was having pain in the joints in my finger as well as shooting pains i
          the rest of my hand.
     94.           MCMURRAY stated that she was not surprised by the pain in my han
          due to the amount of tugging and pulling that MULDER did on August 2nd,
          2012.
     95.           I inquired as to what exact substances (creams, etc) were used i
          the attempt.




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      9Ei .       MCMURRAY i ndicated that they used soap, KY-style lubricant an
           Windex® style products in an attempt to remove the ring .
      97 .        I quest ioned t h e use of Windex® and MCMURRAY was unsure why it
           used .
      98.         I  asked MCMURRAY if she would be wi l ling to sign a writte
           statement as to t h e facts o f t his ent ire s ituat ion . MCMURRAY responde
           to the affirmativ e with the stipulation that I must first follow the
           institution's complaint procedure first.
      99 .        I asked MCMURRAY if there was any entry in my medical chart fro
           my visit ·on August 2nd, where staff attempted to remov e the ring .        She
           indicated that there was no record of that particular visit whatsoever.
      100.        I  asked MCMURRAY if she knew anything about who took the call
         . from PULVER on August 2nd, directing HSU staff to attempt to remove
           wedding ring.
      101.        MCMURRAY indicated that POLENSKA took the call, but was o
           vacation at the present time and unavailable to inquire about details.
      102 .       MCMURRAY further indicated that most phone calls to HSU
           logged and that there was no particular entry for the phone
           POLENSKA took from PULVER .
      103.        MCMURRAY indicated that she. would follow up with me the followin
           week to check on the status of my injury and my claim.
      104 .       I mentioned to MCMURRAY that it is my opinion that staff members
           are taking steps to try to cover up the situation as to protect thei
           jobs.
      105.        MCMURRAY responded that she agreed and she · would assist in
           way necessary.
      10 6.       I   left   the    HSU   and  returned        to my .work  assignment  at
           approximately 8: 25 am.                ____ __ ___.
      1 07.       Later that day, August 9, 2012, at appr oximatel y 11: 10 am, I
           received institution mail from the HSU .                This mail contained
           photocopy of the Progress Notes section from my medical chart. Exhi b i
              D
      108.        This document contained all of the notes entered by HSU staff
          from July 23, 2012 to August 6, 2012.
      109.        There is no entry related to the ring removal incident that
          occurred on August 2nd, 2012.
      110.        The only entry listed for August 2nd , 2 012, was an entry for m
          weekly blood pressure check that was taken earlier in the day.
      111 .       There is no record whatsoever of my presence in the HSU to have
          my ring remov ed on August 2nd, 2012.
      112.        The notes for August 6th, 2012 by MCMURRAY clearly refer to th
          August 2nd incident . The notes state " (Patient) was sent to HSU to hav
          wedding ring removed."
      113.        At approximately 3:15 pm that same day (August 9th, 2012 ,)
           submitted a DOC-3035 requesting ALL documents in my chart with activ it
           from August 2nd, 2012 to present.      I specifically requested copies
           any Progress Notes, Nursing Encounter Protocol sheets and any othe
          documents related to my care. Ex hibit H
      114.        Later that day, I received a response to my DOC-3035B submitte
          on August gth, 2012 .    The response from NAUTH indicated that she spoke
           to her supervisor and is unsure what I wanted her to do and that
          wanted another , more detailed request submitted before she would se
          me.    Ex h i b i t J
      1 15 .      On August 10th, 2012 at 10 : 15 AM, I was seen in the HSU b y staff
          ps y chiatrist NAME UNKNOWN .




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- 116.      -I brought up the incident from '" August 2nd, 2012 and explained t
     NAME UNKNOWN that I thought that - the psychologist that saw me
     was not handling the issues that I requested to have handled.
  117.       NAME UNKNOw"N agreed that NAUTH does not usually help people wit
     their needs, instead simply placating them in an attempt to pacif
     them.
  118.       I told NAME UNKNOWN about the fact that I intend to file a legal
     claim in relation to the events of August 2nd_ NAME UNKNOWN agreed tha
      it seemed like the best course of ·action.
  119.       NAME UNKNOWN indicated that it seemed odd to -_ him that my
     girlfriend would want my wedding ring only after first seeing me
   . Court a few weeks prior.
  120.       We discussed the sanctity of marriage and how important the rin
     wa s to me .
  121.       NAME UNKNOWN agreed.         He indicated that a ring is
     marriage, reminds those of vows and he empathized with my situation.
  122.       Other non-related psychiatric issues were discussed before I lef
     the HSU at approximately 10:40 am.
  123.       Later that same day I submitted an Intervi_ew Reques_t Slip
     Holly MEIER, the HSU Manager, requesting information as to why there
     no documentation from my visit to the HSU on August 2·nd, 2012.
  124.       After not receiving a response from MEIER, on August 12th, 2012,
     submitted an Inmate Complaint Fcirm, DOC-400 detailing the situatio
     contained herin.
  125.       On August 13th, 2012 I received additional requested documentatio
     from HSU .
  126 .      ;he documentation contained all progress notes from 07/23 / 2012 t
     oa/09 / 2-0.12-- and - prescriber's orders from 07 / 20 / 2012 to 08 / 10 / 2012 .   -- --- - - -
     of the documentation contains information about the ring
     incident on 08 / 02/2012. Exhibits K, L, M
  127.       Later that same day, on August 13th, 2012, I submitted a SECO
      Interview Request Slip to Holly MEIER, the HSU Manager, requestin
      information as to why there is no documentation from my visit to
     HSU on August 2nd, 2012, since I did not receive a response.
  128.       I also submitted an Interview Request Slip to PULVER asking
      status of the situation as it pertains to the security department.
  129 .      On August 17th, 2012, at approximately 8:15 am, I was called t
      the HSU to be seen for a follow up appointment for my finger.
      seen by MCMURRAY.
  130.       MCMURRAY stated that now nobody is owning up to taking the cal
      when PULVER called HSU to order my ring removal.
  131.       MCMURRAY indicated that she spoke to MEIER and claims that MEIE
      indicated that HSU had no business trying ~o remove my wedding ring an
      that a court order was necessary.              MCMURRAY indicated that MEIE
      expected that someone would be in trouble.
  132.       I asked MCMURRAY about the documents that I have continuousl
      requested.         She said she still sees nothing in my medical char
      regarding the ring removal incident.
  133.       On August 22, 2012, I received a DOC-410, ICE Rec eipt,
      complaint. Exhibit Q
  134.       On / around August 31, 2012, I received both a DOC-401 (ICE
      Exhibit R and DOC-403 (Reviewer's Decision) Exhibit S
      complaint.
  135.       My complaint was not resolved.




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  EP ARTME NT OFCase:           3:15-cv-00580-wmc Document #: 3 Filed: 09/21/15 Page 64 of 91
                       CORRECTIONS
 iivision of Adult Institutions                    HEALTH SERVICE REQUEST
 >OC-3035 (Rev. 1212009)                  AND COPAYMENT DISBURSEMENT AUTHORIZATION                                                                                                           Ch. DOC 316


            ¢NOTIFY ANY FACILITY STAFF IF YOUR HEALTH CARE NEED IS AN EMERGENCY¢
 PRINT LAST NAME                                                                 PRINT FIRST NAME                                                       DOC NUMBER

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• COPAYMENT DISBURSEMENT REQUE_ST SECTION
 AGREEMENT BY PATIENT:
 I understand the foll~wing :
 • The Department of Corrections shall ch arge a copayment of $7 .50 for a visit (face to face contact) initiated by a patient when a copayment is required .
 • I will not be denied care if I am unable to pay the copayment.                                                                                  ·
 • ·By signing below, 1 am initiating a request for disbursement of my funds for the copayment at the time of the visit when a copayment is required.
 • Failure to sign below will NOT pre11;ent the copayment from being withdrawn from my account following a visit when a copayment is req uired .
 PATIENT SIGNATURE (Indicates request for disbursement of your funds to pay the $7 .50 copayment at the time of the requested vistt when a copayment is req uired.)




 TO BE COMPLETED BY HSU ONLY
 0 MEDICAL (Nurse , Doctor/NP/PA)                                                    D DENTAL                       D OPTICAL                                                         JUL   1 2015
 Ch arge Copa ent: D Yes D No
 AUTHORIZED STAFF SIGNATURE                                                                                                                DA TE OF SERVICE                     DANE COUNTY CIRCUIT


·-:HEALTH sEi<v1cE REauEsr ?_
                            EcTioN
 INSTRUCTIONS TO PATIENT: Be sure to include today' s date on top of form . Check the appropriate box and explain your req uest on the lines provided .
 Place all 4 oaoes of the completed form in the sick call box. The HSU will send a pop_y back to you indicating that your req uest has been received .
 0 H EAL TH SERVIC ES                                0 H EALTH CARE RECORD REVIEW                                              D COPI ES FROM HEALTH CARE R ECORD (Li st records belftw) __
 0 PSYCH IATRIST                                     0 INFORMATION                                                         (
 0 OTHER:

  vr-.~-~-~,.
 Please provide a brief description below of the services you desire so tha t HSU can respond to your request appropriat ely.

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  FOLD THE BOTTOM OF THE FORM UP TO THE DOTIED LINE SO THAT INFORMATION REMAINS CONFIDENTIAL.
                PATIENT: DO NOT·WRITE BELOW THIS LINE -                                                                               TO BE COMPLETED BY HSU ONLY .
  RESPONSE C heck a pp ro pri ate box bel ow .
  0 S cheduled to be seen in HSU : D MD/DO D NP/PA D RN/LPN                                                                                   D Refer to Special Needs Nu rse/Com m ittee
  D T re a ted Tod ay   0 Refer to Psychiatrist  0 Refe r to PSU                                                                              D Place on Optometric W aiting List
  0 Refer to MP AA for record revi ew appointment or tor copies only . (Must be within 30 days of request. )
  0 N o n-Medica l Problem 0 Other:
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UOC-3035 (Rev. 12/2009)Case: 3:15-cv-00580-wmc                                                    Document #: 3 Filed: 09/21/15 Page 65 of 91
                                                                                        AND COPAYMENT DISBURSEMENT      AUTHORIZATION                                                                                                                                     Ch. DOC 316


                      i::> NOTIFY ANY FACILITY STAFF JF.YOUR HEALTH CARE NEED IS AN t:MERGENCY ¢i                                                                                                                                                                                                       .
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COPA YM E NT DISBURSEM E NT REQU EST SEC T ION                                                                                                             -
AGREEMEl 'T BY PATIENT :
I understand the following:
• The Department of Corrections shall charge a copayment of $7.50 for a vi sit (face to face contact) initiated by a patient when a copa yment is required .
• I will not be denied care if I am unable to pay the copayment.
• By signing below, I a'm initiating a request for disbursement of my funds for the copa yment ai the time of the visit when a copayment is required .
• Fail.ure to sign below will NOT prevent the copayment from being withdrawn from my account following a visit when a copayment is requi red .
PATIENT SIGNATURE {Indicates ·request ior disbursement of your funds to pay .the $7 .50 copayment at the time of the requested visit when a copayment is required.)




TO BE COMPLETED BY HSU ONLY .
D MEDICAL (Nurse , Doctor/NP/PA)                                                                        D DENTAL                                           0 OPTICAL
Charqe Copayment: D Yes D No
AUTHORIZED STAFF SIGNATURE                                                                                                                                                                          DATE OF SERVICE




HEALTH SERVICE REQUEST SE,C.TION
 INSTRUCTIONS TO PATIENT : Be sure to include today's date on top of form . Check the appropriate box and explain your request on the lines provided .
 Place all 4 oaaes of the completed form in the sick ca ll box. The HSU will send a copy back to you indicating that your request has been received.
B+-l EA LTH SERV ICE S                                               0 HEALTH CARE RECORD REVIE\1'11- -- --0 COPIES FROM HEAL TH CARE RECORD (List records below)
'o PSYCHIATRIST                                                      0 INFORMATION
 0 OTHER:
 Please p ~ovide a b rief description below of th e services you desir e s o that HSU can r espond t o your request appropri ately.
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    FOLD THE BOTTOM OF THE FORM UP TO THE DOTTED LINE SO THAT INFORMATION REMAINS CONFIDENTIAL.
-                             PATIENT: DO NOT WRITE BELOW THIS LINE -                                                                                                                     TO BE COMPLETED BY HSU ONLY                                                                                  -
    RESPONSE Check appropri ate box below.
tEJ...scheduled to be seen in HSU :  0 MD/DO D NP/PA ct'.J, RN/LPN                          D Refer to Special Needs Nurse/Committee
    D Treated Today       D Refer to Psychiatrist          0 Refer to PSU                   D Place on Optometric Waiting List
    0 Refer to MPAA for record review appointment or for copies only. (Must be withi n 30 days of request.)
    D Non-Medical Problem                                           D Other:
    WRITTEN RESPONSE




                                                                                                                                                                                                                               DATE OF):'~S ;U _R~SPONSE
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                                     Case: 3:15-cv-00580-wmc Document #: 3 Filed: 09/21/15 Page 66 of 91
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DEPARTMENT OF CORRECTION                                                                                                                                                                                                                   WISCONSIN
Division oi Adult Institutions                                            PSYCHOLOGICAL SERVICE REQUEST
ocie-303ss {Rev. 912ooa)
     • · THIS·fQRM IS INTENDED FOR THE PSYCHOLOGICAL SERVICES UNfT (PSU).
              IF YOUR REQUEST IS RELATED TO PSYCHIATRIC MEDICATION OR THE PSYCHIATRIST, USE THE BLUE
              DOC..3035 HEALTH .SERVICE REQUEST.
              PLACE COMPLETED FORM IN THE DESIGNATED COLLECTION LOCATION. DO NOT SEPARATE THE FORM OR KEEP
              ONE OF THE COPIES .                                                                          .
               PRINT CLEARLY
LAST NAME                               ;· i .                                                 FIRST NAME                                                                                                              DOC NUMBER

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~SYCHOLOGICAL SERVICES                                                .                                                                            D INFORMATION
0 REVIEW MY PSYCHOLOGY RECORD                                                                                                                      D OTHER: _ _ _ _ _ _ __:__ _ _ __

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                                FOLD THIS REQUEST OVER TO THE .LINE BELOW SO THAT INFORMATION REMAINS CONFIDENTIAL

    DO NOT USE THIS FORM IFYOUR MENTAL HEALTH NEED IS AN EMERGENCY, SPEAK TO STAFF DIRECTLY.

    IN THE LINED AREA BELOW, WRITE DOWN WHAT YOUR REQUEST IS ABOUT. BE AS SPECIFIC AS YOU CAN .
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                                                                                                                         0 I DO NOT NEED TO SEE. PSYCHOLOGY STAFF


                                                                            D Direct Response                                                      D Delegate to
 fX'i HSU                                                                   ~Refer to PSU (routine)'                                               D Other (specify in notes below)
 NOTES (IF NEEDED)



 RESPONSE

 D A psychology appointment is scheduled for the following time frame: - - - - - - - - - - = - - - - - - -
 0 Y our request has been referred to the Psychiatrist within the Health Service Unit
 D Yo ur request has been referred to the Health Services Unit for medical issues
 D A record review appointment will be scheduled
 D 0ther: _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __




 STAFF SIGNATURE                                                                                             DATE SIGNED                                                                 PRINT STAFF NAME


                                                                                                         I                                                                          I
                                                                                                                                    PATIENT
                  Case: 3:15-cv-00580-wmc Document #: 3 Filed: 09/21/15 Page 67 of 91

PATI ENT NAlv1                                                                   Ml
                       MILLER, John                                                      DOC NUMBER


                       DOC# 147363                      10/26/1962

  DATE             TIME     ·1--             F'ROGRESS NOTES.:. SUBJECT, OBJECTIVE, ASSESSMENT, P ~N




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 DISTRIBUTION :
                                       Case: 3:15-cv-00580-wmc Document #: 3 Filed: 09/21/15 Page 68 of 91
                    DEPARTMENT OF CORRECTI ONS                                                                                                                                                                 WISCONSIN
                    Division of Aduli Institutions
                    QOr-- ?.n?1 IRcv Rl?nn7\                                                        PROGRESS NOTES
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                                -l\1ILLER John                                                                                                                                            DOC NUMBER
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                                DOC# 147363                                               10/26/1962
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                     DISTRIBUTION: Original - Medical Chart, Progress Notes Seciion
                            Case: 3:15-cv-00580-wmc Document #: 3 Filed: 09/21/15 Page 69 of 91
DEPARTMENT OF CORRECTIONS
Division oi Adult lnsiituiions
                                                                                                                                             WISCONSIN   G
!)OC-3473 (Rev . 7/20 11)

                                 PSYCHOLOGICAL SERVICES CLINICAL CONTACT
JFrENDER NAME                                                                                             SOURCES OF INFORMATION
   MILLER, John                                                                            0 Clinical Interview           0
                                                                                                                         PSU Record
                                                                                           O Social Services Fil      O Medical Chart
JOC NUMBER                          FACILITY                     DATE OF SERVICE           O Psychological Testing
   147363                          I FLO                        l 8/8/ 2012                n Other
::::URREl\rT MH CLASS                                                                                                   CURRENT SPECIAL CLASS

]MH-0 No MH need             0MH-1 MH need, not SMI          0 MH-2a Axis I SMI 0 MH-2b Axis II SMI                           0 DD
K.EASON FOR CONT ACT
                                        8   Inmate Request
                                            Staff Request/Referral
                                                                     O Obs PlacemenUReview
                                                                     O Restrainst Placement/Rvw
Mr. Miller wrote "I am having a hard time dealing with a recent incident that happened here."
                                                                                                       Q Therapy
                                                                                                       O Evaluation/Testing
                                                                                                                               OClinical Monitoring



RELEVANT HISTORY/PATIENT'S REPORT
Refer t o clinical file for relevant history.
Mr. Miller says that he has been married since 1986 and has worn a wedding ring since that time. Although he is separated, he is still "the
best of friends" with his wife and they have vowed never to divorce. Recently, Captain Pulver called him up and informed him that an ex-
girlfriend was claiming that Mr. Miller had stolen the ring from her. According to Mr. Miller, Captain Pulver ordered him to take off his ring
and when he was not able to, ·t"len orde;ed HSU to get it off. HSU was not able to get t~e ring off and Mr. Miller new has an infection due
to their efforts. Mr. Miller claims that the ring is his only "tie" left to his wife and that the ring symbolizes the "sanctity of marriage."
MENTAL STATUS
Mr. Miller was adamant that "the ring will not come off'' without a court order even if the police need the ring for investigation of the ex-
girlfriend's claim. He seemed angry when this clinician suggested that if the police do need the ring, that we could help him adjust to this
reality and understand t hat his relationship with his wife would not necessarily be affected. This seemed unacceptable to Mr. Miller.
DlAGNOSES

Axis I                                                Specifiers                                    Diagnosis Date            11/21/2011
Adjustment DO                                         w/ Mixed Anxiety and Depressed Mood
/lkohol Dependence
Posttraumatic Stress DO


Axis II                                                                                             Diagnosis Date
Deferred




Axis ill (If Relevant)

TREATMENT PLAN/FOLLOW-.UP
It is not clear as to what Mr. Miller wanted this clinician to do . . I sympathize with the difficulties of the situation but always see my
job as helping inmates adjust to reality, no matte; how unpleasant Mr. Miller was demanding that he receive a copy of my report
and a copy will be sent to him. He will continue to be monitored or seen per self-request.
 CLASSIFICATION CHANGE
  ~ Yes    []j] No
 MENTAL HEALTH CLASSIFICATION ISMI = seriouslv mentallv ill)                                                              SPECIAL CLASS
  O MH-0 No MH need          0MH-1 MH need, not SM O MH-2a Axis I SMI         O MH-2b Axis II SMI                                    O DD
 PSU STAFF SIGNATURE                                       PRINT PSU STAFF NAME
                                                                                                                           DATE SIGNED
                                                           Linda G. Nauth, M.S.
                                                           Psychologist-Licensed
                                                                                                                                        8/8/2012

                                                           PRINT SUPERVISOR'S NAME




 DISTRIBUTION:         Original - PSU Record, Referrals/S creening/Contact Section; Copy - Medical Chart, Psycholgical Records (Copies) Envelope);
                       Copy - Social Service File - Confidential Section
                         Case: 3:15-cv-00580-wmc Document #: 3 Filed: 09/21/15 Page 70 of 91
DEPARTMENT OF CORRECTIONS                                                                                                                             WISC ON SIN
                                                                                                                                                                      1
Division oi Adult Institution s                          HEAL TH SERVICE REQUEST                                                                        Adm . Code
DOC-3035 (Rev. 1212009 )
                                                AND COPAYMENT DISBURSEMENT AUTHORIZATION                                                              Ch. DOC 316

           ¢NOTIFY ANY FACILITY STAFF IF YOUR HEALTH CARE NEED IS AN l:MERGENCY ¢
PRINT LAST NAME                                            PRINT FIRST NAME                                        DOC NUMBER

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· FACILiTY NAME                                            HOUSING UN I I                                          TODA Y'S DA 1 E




COPAYMENT DISBURSEMENT R;QljES1 SECTION.
                                                - - - .-
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AGREEMENT· BY PATIENT:
I understand the fo llowing:
• The Department of Corrections shall charge a copayment of $7 .50 for a visit (face to face contact) initiated by a patient when a copayment is required .
    I will not be denied care if I am unable to pay the copayment.
• By signing below, I am initiating a req uest for disbursement of my funds for the co payment at the time oi the visit when a copayment .is required .
• Failure to sign below will NOT prevent the copayment from being withdrawn from ·my account following a vis.it when a copayment is required.
 PATIENT SIGNATURE (Indicates request for disbursement of your funds to pay the $7 .50 copayment at the time oi the requested visit when a copayment is required .)




 TO BE COMPLETED BY HSU ONLY
 0 MEDICAL (Nurse , Doctor/NP/PA)                               D DENTAL          0 OPTICAL
 Charqe Copayment: 0 Yes 0 No
 AUTHORIZED STAFF SIGNATURE                                                                           DATE OF SERVICE

                                                                                                  I
 'HEAL TH SERVICE REQUEST
                      . - -_SECTION
                             .... ..
 INSTRUCTIONS TO PATIENT : Be sure to include toda y's date on top oi fonm . Check the appropriate box and explain your request on the lines provided.
 Place all 4 oaoes of the completed fonm in the sick call box. The HSU will send a copy back to you indicating that your request has been received .
 0 HEALTH .SERVICES                 0 HEAL~H CARE RECORD REV l.EW                    .2g-COP IES FROM HEAL TH CARE RECORD (Lisi.cecords below)
 0 PSYCHIA.TRIST                    0 INFORMATION                                                               -
 D OTHER:
 Please provide a brief description below of the services you desire so that HSU can respond to your request appropriately.

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                                                                                                          DATE RECEIVED:
                                                                                                       TO BE STAMPED BY HSU




    FOLD THE BOTTOM OF THE FORM UP TO THE DOTI.ED LINE SO THAT INFORMATION REMAINS CONFIDENTIAL.
·           PATIENT: DO NOT WRITE BELOW THIS UNE -                                             TO BE COMPLETED BY HSU ONLY
    RESPONSE Check appropriate box below.
    0 Scheduled to be seen in HSU : DMD/DO D NP/ PA D RN/LPN                                            D Refer to Special Needs Nurse/Committee
    D Treated Today
      /
                         D Refer to Psychiatrist  D Refer to PSU                                        D Place on Optometric Waiting List
 ~efer io MPAA for record review appointment or tor copies only . (Must be within 30 days of request. )
    D Non-Medical Problem          D Other:
    WRITTEN RESPONSE




                                                                                                                    . DATE OF HS U RESPONSE




                                                        COPY - PATIENT AFTER RESPONSE BY HSU
                                                                                                                                                   ·,.··
                             Case: 3:15-cv-00580-wmc·- Document #: 3 Filed: 09/21/15 Page 71 of -91
                                                                              ;·:
                                                                                                  :·:"" ..... ~...                                                                                             •:    ·-:-   ., .· ..




DEPARTMENT OF CORRECTION                                                                                                                                                                                       WISCONSIN
Division of Adult Institutions.                                      PSYCHOLOGICAL SERVICE REQUEST
 DOC-3035B (Rev. 912008)
         THIS FORM IS' iNTENDED FOR THE PSYCHOLOGICAL SERVICES UNIT (PSU).
                   IF YOUR REQUEST IS RELATED TO PSYCHIATRIC MEDICATION OR THE PSYCHIATRIST, USE THE BLUE
                   DOC-3035 HEALTH SERVICE REQUEST.
        •          PLACE COMPLETED FORM INT.KE DESIGNATED COLLECTIO N LOCATION. DO NO T SEPARATE THE .FORM OR KEEP
        ONE OF THE COPIES .
        •
        PRINT CLEARLY
 LAST NAME                                                                      FIRST NAME                                                         DOC NUMBER
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 REQUEST FOR.:
 0 PSYCHOLOG ICAL SERV ICES .                                                                                  . D INFORMATION . '.
 0 REVIEW MY PSYCHOLOGY RECORD                                                                                  D OTHER:          ~~~~~~~~~~~~~~



                                                                                                                                            I.

                         -.FOLD THIS REQUEST OVER TO THE LINE BELOW SO THAT INFORMATION REMAINS .CONFIDENTIAL
---~------------------~-------------------- ·-.------------
    DO NOT USE THIS .FORM IF YOUR MENTAL HEALTH NEED IS AN EMERGENCY, SPEAK TO ST A.FF DIRECTLY.
    IN THE LINED AREABELOW, WRITE DOWN WHAT YOUR .REQUEST IS ABOUT. BE AS SPECIFIC AS YOU CAN .


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 0 I W OULD LIKE-TO SEE PSYCHOLOGY STAFF                                                       0 I DO NOT NEED TO SEE PSYCHOLOGY STAFF
                                 DO NOT WRJTE BELOW THIS llNE- TO BE FILLED IN BY STAFF ONLY
:-JRIAG.EDBY                                                                                                                                                                                . : ' ·'i ·S'(AF.:F I~rrftiLS c
il,PSU
                                           \       l                      0 Refer to PSU (routine) . D Other (specify in notes below)
 NOTES (IF NEEDED)



 RESPONSE

 0 A psychology appointment is s~heduled tor the following time frame : - - - - - - - - - - - - - -
 0 Your request has beer:i referred to the Psychiatrist within the Health Service Unit
 0 Yo.ur request has been referred to the Health Services Unit for medical issues ·
 D A reco rd review appointment will be schedµled
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 STAFF SIGNATURE                                                                        DATE SIGNED                                 PRINT STAFF NAME
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                                                                                                       PATIENT
              Case: 3:15-cv-00580-wmc Document #: 3 Filed: 09/21/15 Page 72 of 91
PATI El\IT NAlvi                                             lv11
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                       DOC#- 147363       . 1012611962
  DATE-            TIME .. I .

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                   Case: 3:15-cv-00580-wmc Document #: 3 Filed: 09/21/15 Page 73 of 91

DEPARTMENT OF CORRECTIONS                                                                                               WISCONSI N
Division of Adult Institutions
DOC-3023 (Rev. 10/2009)                       PRESCRIBER'S ORDERS
PATIENT NAME_ (Last, First)                                                         DOC NUMBER             DA 1 t: OF BIRTH




DRUG ALLE~GIES


DO NOT USE ABBREVIATIONS LISTED BELOW
qd       qod          ug      MS   MS04       A.S.      A.p.      A.U.       0.S.      ·o.D.      O.U.     IU          u
Never write a zero by itself after a decimal po.int. (:\.0 mg )          Always use .a zero before a decimal point. ( O.X mg )
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                     Case: 3:15-cv-00580-wmc Document #: 3 Filed: 09/21/15 Page 74 of 91
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      DEPARTMENT OF CORRECT IONS                                                                      W ISCONSIN
                                                   PRESCRIBER ~ S ORDERS
      Division of Adult Institutions
      DOC-3023 (Rev. 10/2009)
      PATIENT NAME (Last, First)   ·




       '/721'
      DRUG ALLERGI ES----


      DO NOT USE ABBREVIATIONS LISTED BELOW
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      Never write a zero by itself after a decimal point. (X.O mg )
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             Case: 3:15-cv-00580-wmc Document #: 3 Filed: 09/21/15 Page 75 of 91
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                     MILLER, John                                          lv11       DOC NU1v1BEK.


                     DOC# 147363
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                                                    10/26/1962
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                     Case: 3:15-cv-00580-wmc Document #: 3 Filed: 09/21/15 Page 76 of 91
      DEPARTMENT OF CORRECTIONS                                                                                                            WISCONSIN
      Division of Adult Institutions
      DOC'- ~f1?1 I Rov Rl?nn71                                        PROGRESS NOTES
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               l\ITLLER, Joh~                                                                                       DOC NUMBER

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               DOC#. 147363                                      . 10/26/1962

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                       Case: 3:15-cv-00580-wmc Document #: 3 Filed: 09/21/15 Page 77 of 91
 DEPARTMENT OF CORRECTIONS                                                                                                                                                                                                                                                                                                      WISCONSIN
 Department of Adult Institutions                                                                                                                                                                                                                                                                         Administrative Code
 DOC-410 (Rev. 12103)                                                                                                                                                                                                                                                                                             Chapter DOC 310


                                                ICE RECEIPT
                                    COMPLAINT NUMBER FLCl-2012-17580
                                       * * * ICRS CONFIDENTlAL * * *



      To:    MILLER, JOHN - #147363.
             UNIT: 04-A - 14-8 .
             FOX LAKE CORRECTIONAL INSTITUTION
             W10237 Lake Emily Road
             PO Box 147
             FOX LAKE, WI 53933-0147

      Complaint tnformation:
          Date Acknowledged:          :08/21 /2012
                                      •   •   "' •   •   •   •   •   •   "   "'   "' "'   ,..   "'   "'   "'   "'   "'   '"' •   •   •   "   "'   "   "'   "'   ,. "'   "'   "'   "'   •   "' "'   "   "'   .,   "' "' "' "'   "'   "   "'   •   "'   "' •   •   •   •   •   "'   "'   "'   •   "'   "•   •   "   "'   "   "'   •   •   "'   •   "   •   •I




          Subject of Complaint:
                                      .:1......
                                           -9........
                                                - Confidentiality of & Access to Protected Health Information
                                                      - .. - .. - ...... -..................... -- .................... .: .. .................................. - ...... - .. -- . . ............ · .'
                                                .. .................................................. .......... ............................................... .. . . .. .. .... .... .... .....
          Brief Summary:              :documentation from attempted ring removal                                                                                                                                                                                                                                                                          '
                                      . . . - ...... .. .... .. .............. --- .. - .... - .. -.. .......... ....... --- .. .. -- .... - .................................. - .. - .. -.... .. - '

          This is to acknowledge the complaint you filed and which was received on the date indicated. Depending on
          the nature of the complaint, you may or may not be interviewed by the ICE. A recommendation on the
          complaint will be made and submitted to the appropriate reviewing authority within 20 working days of
          acknowledgement. A decision will be made by the appropriate reviewing authority within 10 working days
          following receipt of the recommenaalfon L.fnTess eXt:ended for cause.
                Please write to the ICE if this issue is resolved before you receive an answer:




Print Date: August 22, 2012                                                                        Page 1 of 1                                                                                                                                                       Institution Complaini Examiner's Office
                                                                                            •• ICRS CONFIDENTIAL ..
                     Case: 3:15-cv-00580-wmc Document #: 3 Filed: 09/21/15 Page 78 of 91
DEPAi'l.TMENT OF CORRECTIONS                                                                                                                                                                                                                                                                                                    WISCONSIN
Department oi Adult Institutions                                                                                                                                                                                                                                                                     Adm inistrative Code
DOC-401. (Rev. 12/03)                                                                                                                                                                                                                                                                                         Chapter. DOC 310


                                                ICE REPORT
                                   COMPLAINT .NUMBER FLCl-2012-17580
                                      * * * ICRS CONFIDENTIAL***




      To: MILLER, JOHN - #147363
             UNIT: 04-A - 14-B
             FOX LAKE CORRECTIONAL INSTITUTION
             W10237 U:1ke Emily Road
             PO Box 147 ·
             FOX LAKE, WI 53933-0147

      Complaint Information:
         Date Complaint Received:
                                      r .. • .................... - ........ .............. .

                                      :_~~1?_1!?9}? _..... -... --.. :
                                                                                                                                                                                                                                   Inmate Contacted?                                                               :·N;· ·-····:
                                                                                                                                                                                                                                                                                                                   1 ..........          . . . . . . . . .•




         Subject of Complaint:        :19 - Confidentiality of & Access to Protected Health Information
                                      -- . "'· .......................... - .... -- ............ . . -- .......... - ...... - ...... - ........................... -- .................. .
                                      I" . . . . . . . . . . . . . . -      ...... -          ........ -            .... .. . . . . . . -           -    ......................................... -                                                 ........ -           ................                    -     .... -      -   -    .... ..       ..   .


         Document(s) Relied Upon:     :BHS 500:08
                                      .... -- .. -- .. - ............................ - ............................ - .......... - .................... - .... - ........ - .............. .
                                      I" .. -     -    .. -    .............. -                    .. -    .. -     .......................... -                                -   -   -   .. -    .. -     -   .. -    -    .. -      -   -   -    -   -   .... - ...... -               .... -        -    .. -     -    .. -    .... .. -          .. .


         Brief Summary:               :documentation from attempted ring removal
                                      r .. ... .. - .. ......... - .............. - .. - .......... - ........................ -. - .. - ...... - - - - ........................ - - -:. .. - ........ '
         Summary of Facts:            ;Inmate Miller complains he has not received documentation about an attempted:
                                      ;ring removal . Claims he requested this on 8-2-12.                           :.

                                      :Per BHS policy 500:08; Request by Patient to Inspect and Obtain Copies of
                                      :Personal Health lnfonmation; the inmate must request the information using
                                                                                                                                                                                                                                                                                                                                                                '
                                      ;DoC-1163A and include a disbursement request DOC-0184. HSU staff then                                                                                                                                                                                                                                                    '
                                                                                                                                                                                                                                                                                                                                                                '
                                      ;has thirty days to process an inmate's request for copies.                                                                                                                                                                                                                                                               '·
                                                                                                                                                                                                                                                                                                                                                                '
                                                                                                                                                                                                                                                                                                                                                                '
                                       '                                                                                                                                                                                                                                                                                                                        '
                                       '
                                       :Based on the above , the inmates complaint is premature. Recommendation is
                                       :tor dismissal of the complaint.
                                       ,. ...... -- . - .............. - ................ ----- ......... -- ............................. - .. - ........ - .. - .. - .... - .. - ...... . -
                                       I•     "   "'   •   •   "   "   .,   ..   •   "'   •   ..   "   "   "   .,   "   •   "   "'   "'   "   '"'   "'   ..   ""'   •   •   "   "   •   "   •   "   "   "'   "   •   "   ,.   "'   "'   "   "   "'   "'•     "   "   "'   "   "   •   "'   "'   •   "'   "'   "'   •   ..   "   "   "'   "'   "   ..   ,.   .. '

                                                                                                                                                                                                                                                                                                                                                                ..
          ICE Recommendation:          :Dismissed                                                                                                                                             '


          Recommendation Date:             08/22/2012




                                           Renee Schueler




Print Date·. August 31 , 2012                                                                         Page 1 oi 1                                                                                                                                                lnstituiion Complaint Examiner's Office
                                                                                              ... ICRS CONFIDENTIAL ...
                           Case: 3:15-cv-00580-wmc Document #: 3 Filed: 09/21/15 Page 79 of 91
     DEPARTMENT OF CORRECTIONS                                                                                                                                                                                                                                                                                                                                                                                                                                                                               WISCONSIN
      Department oi Adult lnstiiuiions                                                                                                                                                                                                                                                                                                                                                                                                                                            Administraiive Code
      DOC-403 (Rev. 12/03)                                                                                                                                                                                                                                                                                                                                                                                                                                                               Chapter DOC 31 0

                                                 REVIEWER'S DECISION
                                         COMPLAINT NUMBER FLCl-20·12-17580
                                            * * * ICRS CONFIDENTIAL***




           To: MILLER, JOHN - #147363
               UNIT: 04-A - 14-B
               FOX LAKE CORRECTIONAL INSTITUTION
               W10237 Lake Emily Road
               PO Box 147
               FOX LAKE, WI 53933-0147
           Complaint Information:
                                              r - - .... .. - ................... ...... ......... .. - .
              Date Complaint Received:
                                              :.~~1?_1!?9.1? ...... -.. -. -.. :
              Subject of Complaint:           :19 - Confidentiality of & Access to Protected Health Information
                                              -----------------· .... .. -------------- .. - .................................. -- .............. --- .......... .'
                                              P' . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . -                                                        .. -         ................... -                                                     ........                        -       -       -       ...... .... -                              ..       -       ........ -                           .. -       ..... -                 ..........                       -       .. -          .. -            ...... .


              Brief Summary:                  ;documentation from attempted ring removal                                                                           '

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              ICE's Recommendation:           :Dismissed
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              Reviewer's Decision:            :Dismissed                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 :
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              Reason(s) for Decision:         :If there is documentation in the Medical Chart about the alleged actions by HSU :
                                              ;staff to remove his ring , the HSU has 30 days from his request in which to                                                                         '
                                              :provide a copy of the document. He will be assessed 15 cents per page. The
                                              :30 day time frame had not ended as of the filing of his complaint, but will
                                              ;on/about September 2, 2012 . The HSU should inform Mr. Miller of the number
                                              :of pages in his Chart related to the ring removal immediately, so that he can
                                              :sign a DOC-0184 Disbursement Request.
                                               .................. _ .................................... ............ ............................ ............... ....................... .... ..
              Decision Date:                      08/31/2012




                                                  Gloria Marquardt

               CC:
                      Distributed via email
                          Meier, H

               A complainant dissatisfied with a decision may, within 10 calendar days after the date of the decision, appeal
               that decision by filing a written req uest for review with the Corrections Complaint Examiner on form DOC-405
               (DOC 310.1 3, Wis. Adm. Code).




    Print Date: August 31, 201 2                                                                                               Page 1 oi 1                                                                                                                                                                                                                                                                                                                                                                        Reviewers Office



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Case: 3:15-cv-00580-wmc Document #: 3 Filed: 09/21/15 Page 80 of 91
  DEPARTMENT OF CORRECTIONS
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  Division of Adult Institutions
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  0 2 - Shipping/Freight Envio !Carga    0 6 - Savings Bond Pu rchase Compra Bonas de Ahorro     D 10 - Other (reason required)' Otro (requiere justificacion)"
  0 3 - Postage Posta de Correo          0 7 - Savings Deposit                                   D 11 - Route Check to: Envie cheque a:_ _ _ _ _ _ __ _ _
  FUNDING SOURCE : FUENTE DE FONDOS
  OREG - Regular Account Cuenta Regular 0WR- Work Release Account Cuenta de Trabajo OREL - Release Account Cuenta de Liberacion 0Legal Loan Prestamo Legal
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 DEPARTMENT OF CORRECTIONS     Case: 3:15-cv-00580-wmc Document #: 3 Filed: 09/21/15 Page 82 of 91
 DivisiOJ( of Adult Institutions                             llSBURSEMENT REQUEST
 DOC-184 (Rev. 10/2011)



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 DEPARTMENT OF CORRECTIONS /
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OFFENDER REQUEST - To be completed by the offender. Please pnnt or type all items except your signature
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DEPARTMENT OF CORRECTIONS                                                                                                                                WISCONSIN
                                                      DISBURSEMENT REQUEST

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 FUNDING SOURCE: FUENTE DE FONOOS
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                                        0   7 - Savings Deposit                                  0 11 - Route Check to: Envie cheque a: _ __ _ _ __ __ __

FUNDING SOURCE: FUENTE DE FONOOS
OREG - Regular Account Cuenta Regular DwR - Work Release Account Cuenta de Trabajo OREL - Release Account Cuenta de Liberacion 0Legal Loan Prestamo Legal
"REASON FOR REQUEST (Must complete if you choose 9 or 10 above)           INDIVIDUAL ITEMS REQUESTEDArticu/os lndiv idua/es Solicitados AMOUNT CAN T/DAD
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REQUEST DENI ED BY SIGNATURE                                    DATE SIGNED         . REASON REQUEST WAS DENIED
                                  Case: 3:15-cv-00580-wmc Document #: 3 Filed: 09/21/15 Page 85 of 91
  DEPARTMENT OF CORRECTIONS
  Division' of Adult Institutions                                         JISBURSEMENT REQUEST .                                                                                      ..           WISCONSIN

• DOC-184 (Rev . 10/2011 )
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OFFENDER REQUEST - To be completed by the offender. Please print or type all items except your signature
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SOUCITUD DE OFENSOR - Debe ser completado or ofensor. Par favor in rima todo exce to su firma
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 0 3 - Postage Pasta de Correo                   0     7 - Savings Deposit                                   0 11 - Route Check to: Envie cheque a: _ _ _ _ _ _ _ _ _ __

FUNDING SOURCE: FUENTE DE FONDOS
 OREG - Regular Account Cuenta Regular 0WR - Work Release Account Cuenta de Trabajo OREL - Release Account Cuenta de Uberacion 0Leg al Loan Prestamo Legal
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 DEPARTMENT OF CORRECTIONS




 OFFENDER NAME NOMBRE DE OFENSOR                                                        DOC NUMBER                      FACILITY NAME (Abbreviate)           HOUSING UNIT/FLOOR/C ELL

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 FUNDING SOURCE: FUENTE DE FONDOS
 OREG - Regular Account Cuenta Regular 0WR - Work Release Account Cuenta de Trabajo O REL - Release Account Cuenta de Liberacion 0Legal Loan Prestamo legal




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                                         Case: 3:15-cv-00580-wmc Document #: 3 Filed: 09/21/15 Page 86 of 91                                                                          WISCONSIN
                                                                                                                                                                                Administrative Code ·
                                                                                                                                                                                  Chapter DOC 309



     OFFENDER NAME NOMBRE DE OFENSOR                                                          DOC NUMBER            FACILITY NAME (Abbreviate)           HOUSING UNIT/FLOOR/CELL
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     FUNDING SOURCE: FUENTE DE FONDOS
     OREG - Regular Account Cuenta Regular OwR - Work Release Account
     ·REASON FOR REQUEST (Must complete if you choose 9 or 10 above)
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     DEPARTMENT OF CORRECTIONS                                                                                                                                                        WISCONSIN
     Division of Adult Institutions                                          DISBURSEMENT REQUEST                                                                               Administrative Code
     DOC -184 (Rev . 1 ~/2011 )                                                    SOLICITUD DE DESEMBOLSO                                                                        Chapter DOC 309
     OFFENDER REQUEST - To be completed by the offender. Please pnnt or type all items except your signature
     SOLICITUD DE OFENSOR - Debe ser com letado or ofensor. Par favor m nma todo exce to su f1rma
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  REQUEST FOR : SOL/CTUD PARA :                        0   4 - Photos Fotos                          0 8 - Savings Withdrawal Oesembolso de Ahorros
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     FUNDING SOURCE: FUENTE DE FONDOS
     OREG - Regular Account Cuenta Regular 0WR - Work Release Account Cuenta de Trabajo OREL - Release Account Cuenta de Liberacion 0Legal Loan Prestamo Legal
     ·REASON FOR REQUEST (Must complete if you choose 9 or 10 above)           INDIVIDUAL ITEMS REQUESTEDArticu/os lndiv idua/es So/icitados AMOUNT CANTIDAD
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     REQUEST DENIED BY SIGNATURE                                                      DATE SIGNED               REASON REQUEST WAS DENIED
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                            Case: 3:15-cv-00580-wmc Document #: 3 Filed: 09/21/15 Page 87 of 91                                                              __ .     ..... # ·




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  Division of Adult Institutions                                                                                                                                        Administrative Code
• ?OC- 184 (Rev. 10/2011 )
                                                                SOLICITUD DE DESEMBOLSO                                                                                   Chapter DOC 309
 OFFENDER REQUEST - To be completed by the offender. Please print or type all items except your signature
 SOLICITUD DE OFENSOR - Debe ser com letado or ofensor. Par favor in nma todo exce to su firma
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 REQUEST FOR: SOL/CTUD PARA:                · 0 4 - Photos Fotos                         0 8 - Savings Withdrawal Desembolso de Ahorros
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 0 2 - Shipping/Freight Envio !Carga          0 6 - Savings Bond Purchase Compra Banos de Ahorro     0 1o - Other (reason required)' Otro (requiere j ustificacionr
 0 3 - Postage Pasta de Correo                0 7 - Savings Deposit                                  0 11 - Route Check to : Envie cheque a:_ _ _ _ _ __ _ _ __
 FUNDING SOURCE: FUENTE DE FONDOS
 OREG - Regular Account Cuenta Regular OwR - Work Release Account Cuenta de Trabajo OREL - Release Account Cuenta de Liberacion 0Legal Loan Prestamo Legal
 'R EASON FOR REQUEST (Must complete if you choose 9 or 10 above )         INDIVIDUAL ITEMS REQUESTEDArticu/os lndiv iduales So/icitados AMOUNT CANT/DAD
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 REQUEST DENIED BY SIGNATURE                                        DATE SIGNED          REASON REQUEST WAS DENIED

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 DEPARTMENT OF CORRECTIONS
                                               O.K         DISBURSEMENT REQUEST                                       ·.- ~··                                                     WISCONSIN




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 REQUEST FOR: SOL/CTUD PARA :                0 4 - Photos Fotos                         0 8 - Savings Withdrawal Desembolso de Ahorros
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 FUNDING SOURCE: FUENTE DE FONDOS
 OREG - Regular Account Cuenta Regular 0WR - Work Release Account Cuenta de Trabajo OREL - Release Account Cuenta de Liberacion 0Legal Loan Prestamo Legal
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 DEPARTMENT OF CORRECTIONS
                          Case: 3:15-cv-00580-wmc Document #: 3 Filed: 09/21/15 Page 88 of 91                                                                        WISCONSIN
 Division'Of Adult Institutions                             >ISBURSEMENT REQUEST                                                                               Administrative Code
,DOC-'184 (Rev. 10/2011)                                         SOLICITUD DE DESEMBOLSO                                                                         Chapter DOC 309
OFFENDER REQUEST - To be completed by the offender. Please print or type all items except your signature
SOLICITUD DE OFENSOR - Debe ser com letado or ofensor. Por favor in nma todo exce o su finma
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 REQUEST FOR: SOL/CTUD PARA:            D 4 - Photos Fotos                                  D 8 - Savings Withdrawal Oesembolso de Ahorros
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 OREG - Regular Account Cuenta Regular OwR - Work Release Account Cuenta de Trabajo OREL - Release Account Cuenta de Liberacion 0Legal Loan Prestamo Legal
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 REQUEST DENIED BY SIGNATURE                                           DATE SIGNED          REASON REQUEST WAS DENIED




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  DEPARTMENT OF CORRECTIONS                                                                                                                                           WISCONSIN
  Division of Adult Institutions                            DISBURSEMENT REQUEST                                                                                Administrative Code
  DOC-184 (Rev. 10/2011 )                                         SOLICITUD DE DESEMBOLSO                                                                         Chapter DOC 309
  OFFENDER REQUEST - To be completed by the offender. Please print or type all items except your signature
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  REQUEST FOR : SOL/CTUD PARA :             0 4 - Photos Fotos                         0 8 - Savings Withdrawal Desembolso de Ahorros
                                            D 5 - State ID Photo Foto ID de! Estado    D 9 - Property Purchase (reason required)' Compra de Propiedad (requiere razon)"
                                            D 6 - Savings Bond Purchase Compra Bonas de Ahorro     0 10 - Other (reason required)' Otro (requiere justificacion) •
                                            0    7 - Savings Deposit                                     0     11 - Route Check to: Envie cheque a: _ _ _ _ _ __ _ _ __




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  SUPERVISOR APPROVAL SIGNATURE (If required)                          DATE SIGNED            CHECK#                     DATE PAID



  REQUEST DENIED BY SIGNATURE                                          DATE SIGNED            REASON REQUEST WAS DENIED
 DEPARTMENT OF CORRECTIONS
                           Case: 3:15-cv-00580-wmc Document #: 3 Filed: 09/21/15 Page 89 of 91                                                                           WISCONSIN
 Divisipn• of Adult Institutions                            JISBURSEMENT REQUEST                                                                                   Administrative Code ·
.DOC- 184 (Rev 10/2011 )                                                                                                                                             Chapter DOC 309
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 OFFENDER REQUEST - To be completea bY the offender. Please print or type all items except your signature
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  REQUEST FOR: SOL/CTUD PARA:              D 4 - Photos Fotos              •.            0 8 - Savings Withdrawal Desembolso de Ahorros
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    EG - Regular Account Cuenta Regular 0WR - Work Release Account Cueata de Trabajo OREL - Release Account Cuenta de Liberacion 0Legal Loan Prestamo Legal
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 SUPERVISOR APPROVAL SIGNATURE (If req uired)                   DATE SIGNED                   CHECK#                        DATE PAID



 REQUEST DENIED BY SIGNATURE                                        DATE SIGNED               REASON REQUEST WAS DENIED
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  DEPARTMENT OF CORRECTIONS                                                                                                                                               WISCONSIN
  Division of Adult Institutions                           DISBURSEMENT REQUEST                                                                                     Administrative Code
  DOC-184 (Rev . 10/2011)                                        SOLICITUD DE DESEMBOLSO                                                                              Chapter DOC 309
  OFFENDER REQUEST - To be completed by the offender. Please pnnt or type all items except your signature
  SOLJCITUD DE OFENSOR - Debe ser cciin letado or ofensor. Par favor in rima todo exce to su firma
  OFFENDER NAME NOMBRE DE OFENSOR                                   DOC NUMBER              FACILITY NAME (Abb reviate)                   HOUSING UNIT/FLOOR/CELL
                                                                    NUMERO                  lnstalaci6n (Abrevie)                         UN/DAD I PISO I CELDA


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  REQUEST FOR: SOL!CTUD PARA:               D 4 - Photos Fotos                          0 8 - Savings Withdrawal Desembo/so de Ahorros
  D 1 - Copies Copias                       0 5 - State ID Photo Fata ID .de/ Estado   D 9 - Property Purchase (reason required)" Compra de Propiedad (requiere razanr
  D 2 - Shipping/Freight Envio !Carga       D 6 - Savings Bond Purchase Compra Bonas de Ahorro      0 1O - Other (reason required)" Otro (requiere justificacion)'
 ~·3 - Postage Pasta de Correo              0 7 - Savings Deposit                                   D 11 - Route Check to: Envie cheq ue a: _ _ _ _ _ _ _ _ _ __
 .fUj)IDING SOURCE : FUENTE DE FONDOS
  ~REG - Regular Account Cuenta Regular 0WR - Work Release Account Cuenta de Trabajo OREL - Release Account Cuenta de Liberacion 0Legal Loan Prestamo Legal
  ' REASON FOR REQUEST (Must complete if yo u choose 9 or 10 above)       INDIVIDUAL ITEMS REQUESTEDArticu/os lndiv iduales Solicitados  AMOUNT CANT/DAD
  'RAZON POR LA SOL!CITUD (Debe completar s1 esco1e cas1llas 9 a 10 amba)              F/ Crf-- qX {-;).                                 $
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  OFF~jGNATURE FIRMA OFENSOR(A)                        DATE SIGNED                   OFFENDER ID VERIFIED


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                                                       FECHA DE FIRMA                ID DE OFENSOR CHEOUEADO
                                                                                                                                   Total Amount Requested
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  REQUEST DENIED BY SIGNATURE                                       DATE SIGNED                REASON REQUEST WAS DENIED
                 . - -- Case: 3:15-cv-00580-wmc Document #: 3 Filed: 09/21/15 Page 90 of 91
 - DEPAifTM ENT OF CORRECTIONS                                                                                                                                                                                       WISCONSIN
 • Division ot Adult Institu tions                                                 DISBURSEMENT REQUEST                                                                                                       Admini strative Code
   DOC- 184 (Rev . 10/201 1)                                                                                                                                                                                    Chapter DOC 309
                                                                                            SOLICITUD DE DESEMBOLSO
   OFFENDER REQUEST - To be completei:I by the offender. Please print or type all items except your signature
   SOUCITUD DE OFENSOR - Debe ser coin letado or ofensor. Por favor m nma todo exce to su firma
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    REQUEST FOR: SOLICTUD PARA:                               D 4 - Photos Fotos                          D 8 - Savings Withdrawal Desembolso de Ahorros
   &!' 1 - Copies Copias                                      D 5 - Slate ID Photo Foto ID de/ Estado     D 9 - Property Purchase (reaso n required)' Compra de Propiedad (requiere razonr
   CJ 2 - Shipping/Freight Envio ! Carga                      D 6 - Savi ngs Bond Purchase Compra Bonas de Ahorro     D 10 - Other (reason required)' Otro (requiere justificacion)'
   D 3 - Postage Pasta de Correo                              D 7 - Savi ngs Deposit                                  D 11 - Route Check to : Envie cheque a: _ _ _ _ _ _ _ _ _ __
   FUND ING SOURCE : FUENTE DE FONDOS
   OREG - Regular Account Cuenta Regula r 0 WR - Work Release Account Cuenta de Trabajo OREL - Release Accou nt Cuenta de Uberacion 0Legal Loan Prestamo Legal
   'R EASON FOR REQUEST (Must complete if yo u choose 9 or 10 above)         INDIVIDUAL ITEMS REQUESTEDArticu/os lndiv iduales Solicitados  AMOUNT CANT/DAD
   'RAZON POR LA SOL/CITUD (Debe completar si escoje casillas 9 o 10 arriba)              0 p / (:- \ {:) . /                               $           0           <-
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                         T URE F. MA OFENSOR(A)                              DATE SIGNED                              OFFENDER ID VERIFIED

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   REQUEST DENIED BY SIGNATURE                                                                   DATE SIGNED                      REASON REQUEST WAS DENIED


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  DEPARTMENT OF CORRECTIONS                                                                                                                                                                                         WISCONSIN
  Division of Adult Institutions                                                  DISBURSEMENT REQUEST                                                                                                        Administrative Code
  DOC-184 (Rev. 10/2011)                                                                   SOLICITUD DE DESEMBOLSO                                                                                             Chapter DOC 309
  OFFENDER REQUEST - To be comp!~ - e offender. Please print or type all items except your signature
  SOLICITUD DE OFENSOR - Debe ser ctlr'n letado or ofensor. Par favor m nma todo exce to su f1rm.i
  OFFENDER NAME NOMBRE DE OFENSOR                                    DOC NUMBER           FACILITY NAME (Abbreviate)                                                                   HOUSING UNIT/FLOOR/CELL
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  REQUEST FOR: SOL/CTUD PARA :                               D 4 - Photos Fotos                                                  D 8 - Savi ngs Withd rawal Desembolso de Ahorros
 '8;:J - Copies Copias                                      D 5 - State ID Photo Foto ID def Estado    D 9 - Property Purchase (reason required)' Compra de Propiedad (requiere razonr
  D 2 - Shipping/Freight Envio !Carga                       D 6 - Savings Bond Purchase Compra Bonas de Ahorro    D 10 - Other (reaso n requi red)' Otro (requiere justificacion) •
  D 3 - Postage Pasta de Correo                             D 7 - Savings Deposit                                 D 11 - Route Check to : Envie cheque a:_ _ _ _ _ _ __ __ _
  FUNDING SOURCE: FUENTE DE FONDOS
  OREG - Reg ular Account Cuenta Regular 0 WR - Work Release Account Cuenta de Trabajo OREL - Release Accou nt Cuenta de Liberacion 0Legal Loan. Prestamo Legal
  'R EASON FOR REQUEST (Must complete if you choose 9 or 10 above)          INDIVIDUAL ITEMS REQUESTEDArticu/os lndiv iduales Solicitados   AMOUNT CANT/DAD

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  'RAZON POR LA SOL/CITUD (Debe completar si escoje casillas 9 o 10 arriba)

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 :z:z;;;:;:zNSOR(A)                                                         FECHA DE FIRMA                           ID DE OFENSOR CHEOUEADO

                                                                            /-/ -12-                                 Staff Initials:
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  DECISION -To be Completed by Depa~enrstaftOnly
  DECISION- D-:ibe ser Com letada or Ein leados Solamente

  DIS ~-«ATURE:                                                                                 DATE SIGN ED                     No Check:        D
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  REQUEST D E N IED BY SIGNAT URE                                                               DATE S IGN ED                    REASON REQUEST WAS D ENIED
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                      Case: 3:15-cv-00580-wmc Document #: 3 Filed: 09/21/15




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                                        FOX LAKE CORRECTIONAL INSTITUTION
                                           W10237 Lake Emily Road , Box 147                LJ
                                                 Fox Lake, WI 53933

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